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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                                 Case No. 17 Cr. 680 (CM)
                            Plaintiff,
     v.

CRAIG CARTON,

                            Defendant.




                SENTENCING MEMORANDUM ON BEHALF OF
                      DEFENDANT CRAIG CARTON

                        APPENDIX- EXHIBIT D




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                           United States v. Craig Carton
                            Case No. 17 Cr. 680 (CM)
                          Sentencing Memoradum Exhibits

Exhibit Number   Author
D-1              Jerry Geffen
D-2              Chris christie
D-3              Cortney Baird
D-4              Boomer Esiason
D-5
D-6              Gary DiBartolomeo
D-7              Mary Hawley
D-8              Joseph Millan
D-9              Judith Chalme
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D-36             Marc Rayfield
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D-38             Robert Polding
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D-40             Bruce Gifford
D-41             Margarita Velez
D-42             Carlos Austin
D-43             Luke Thomas
D-44             Walto Sabo Jr.
D-45             Thomas C. Brasuell
D-46             Matthew Bryne
D-47             Maria Valente
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D-51             Lisa Brefere
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D-59             Scott Zaletofsky & Angela Roina
D-60             Jim Huvane
D-61             Mike Hendrick
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D-63             Douglas Tiesi
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D-65             Edward Scozzare
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D-67             Gary Spindler
D-68             Bob Ingle
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D-75              Ethan Kleinberg
D-76              Amy Concialdi
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D-79              Marc Picks
D-80              Jon Gerstel
D-81              Beth Levine
D-82              Doug Cohen
D-83              Bill Saurer
D-84              Dan Sanborn
D-85              Aldo Zuppichini
D-86              Michael Tannenbaum
D-87              George Gjokaj
D-88              Dan Buttling
D-89              Dan Chozahinoff
D-90              Jacob Wolf


*Portions of Exhibits D-1 through D-90 herein have been redacted to protect attorney-
client privileged communications.

**Portions of Exhibits D-1 through D-90 herein have also been redacted to protect
"sensitive information," including the names of minor children, pursuant to the E-
Government Act of 2002, the Southern District's ECF Privacy Policy, and Judge McMahon's
Individual Rules of Practice for Sentencing Proceedings.
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        Exhibit
                   D-1
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Honorable Judge Colleen McMahon
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007-1312

                                                 Re: Craig Carton


Dear Judge McMahon:


        My name is Jerry M. Geffen and I am writing this letter on the behalf of Craig Carton.
Craig is married to my daughter Kim
and is therefore is  my son-in-law and the father of four of my grandchildren. They are
named Mickey, Sonny, Lucky and Anthony and they range in age from 18 years old to eight
years old. 

         I have known Craig for over twenty-five years and have been proud to call him my
son-in-law. Most people only know Craig as a host of a morning talk radio show on the
FAN, but that Craig is merely a character or persona whose job is to get ratings. The real
Craig is quite different. The Craig I know is not the "shock jock" he portrays, but a loving
family man who would do anything for his children 
He is the definition of a hands on Dad and is deserving of the adulation that he receives
from his children. He always made time for all the kids events whether it be a sporting
event, dance recital, fishing trips,etc. 

         I have also witnessed Craig's many charitable endeavors. This includes The TIC
TOC STOP camp for children suffering from 
Tourette's Syndrome, countless charity softball games to benefit Police and Firemen and
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donating his time and money to help others
that has never made headlines. Having accompanied Craig to many public events, I was
impressed how responsive he was to his fans giving autographs and taking selfies long
after the event had ended when he could have just left. I did not feel it was in any way an
ego trip but a true effort to thank his fans and show his appreciation for his success.

       Craig has coached his children in all kinds of sports but always made sure that all the
participants felt important and got playing time. 
He treated the opposition with respect and was a role model for good sportsmanship.
Through the years he has positively impacted literally thousands of children through his
participation in these events.

         I believe Craig is an extremely good person and,  in fact,  a great role model except
for his gambling addiction that threatens to destroy him and his family. I am sure that you
are aware of the hardship that has affected Craig personally, including financial and career
related. I  cannot even imagine the negative impact that my family and especially my
daughter and grandchildren would suffer if Craig was away from them. I am hoping that you
will show leniency and allow Craig to rehabilitate from his profound addiction. In spite of the
events of the last few years my wife and I are still solidly in Craig's corner.

      Thank you for this opportunity to speak on Craig's behalf.


                                                                   Respectfully yours




                                                                    Jerry m. Geffen VMD
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        Exhibit
                   D-2
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                             OFFICE OF CHRIS CHRISTIE


                                                        January 10, 2019


The Honorable Colleen McMahon
Chief Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007-1312

            Re: United States v. Craig Carton

Dear Judge McMahon:

            I am writing to you in connection with the sentencing pending
before your Honor of Mr. Carton. I respectfully request that you take the
entirety of Mr. Carton's life into account when determining a fair and just
sentence.

            I served as the United States Attorney for the District of New
Jersey from January 2002-December 2008. I also served as the 55th
Governor of New Jersey from January 2010-January 2018. Prior to that
time, I was a practicing attorney admitted before the Supreme Court of
New Jersey and the U.S. District Court of New Jersey since 1987. I have
known Mr. Carton for fifteen years and consider him a personal friend.

             Craig is one of the most dynamic and talented people I have
ever met. His accomplishments professionally in the radio business are well
known to the Court so I will not repeat them here. It is in that context that
I first met Craig, as a guest on his radio show in 2004. Our friendship
developed from there.




                       15   MAPLE AVENUE, MORRISTOWN,   NJ 07960
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             Craig is one of the most generous friends I have ever met. He
has made himself available privately to friends in any kind of trouble or
need and also to public, charitable causes of all kinds. I have watched him
give of his time and financial resources to causes related to charities which
benefited children with various diseases, most particularly to two of note.
His former radio partner, Boomer Esiason, has a son who is afflicted with
cystic fibrosis. Mr. Esiason has a long-standing charity to help support CF
research and families. Craig did numerous events in support of this effort
for years. He did so with enthusiasm and with great success. Craig also
founded the Tic-Toe Stop Foundation, established to assist in research and
treatment of Tourette's Syndrome. Craig himself suffers from Tourette's
Syndrome and has children who are also afflicted. Craig raised funds to
support research and also to sponsor a summer camp for children with this
condition. Craig not only funded this camp (without cost to the families
involved) but also attended the camp himself to serve as an example for
the children who attended. He showed those children one example of what
they could achieve in life and also provide great memories to them from
their time at camp. Craig is rightfully proud of the research sponsored by
this foundation which has now lead to a published study on a device that
helps those afflicted with Tourette's Syndrome. Thousands will benefit in
the future from the work Craig championed and funded through this
Foundation.

             On a personal level, I have spent a great deal of time with Craig
over the last number of years, both individually and with our families. He is
a good person. He is generous, kind and loving. I have observed him to be
a wonderful father who is very involved in every aspect of his children's
lives. He is an integral part of his life and they of his. Any significant
separation between Craig and his children will be, in my opinion from
observing them, detrimental to those children and to Craig as well.

            In my dealings with Craig I have always found him to be honest
and forthright. I have found him to be compassionate and generous. He is
also at times outrageous and funny. He is a good and decent person.
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              I urge the Court to show compassion to Craig when deciding
on sentencing. I do not believe that Craig is a danger to society. I do not
believe he is at all likely to be a recidivist. I think Craig found himself in
this position because of other challenges in his life with which I am sure
the Court is familiar and which I believe Craig is taking steps to deal with
personally. I do not believe that any significant period of incarceration in
this matter would be in the interests of justice. Craig, by the loss of his
career, the destruction of his reputation and the financial devastation that
has occurred as a result of this incident, has already been taught a serious
life lesson. I am confident that he has learned his lesson and, that if the
Court were to give him the opportunity, that he will live his life from here
forward in a way that will bring credit to his name and to this Court's
demonstration of compassion.

            I thank the Court for consideration of my views in this matter.


                                                 Respectfully yours,



                                                 Christoph r J Christie
                                                 55 th Governor of New Jersey
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        Exhibit
                    D-3
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Cortney L. Baird

Oak Park, CA




February 1, 2019


The Honorable Colleen McMahon, Chief United States District Judge,
Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312
Courtroom: 24A
Re: Sentencing of Craig Carton
Cortney L. Baird
Dear Judge McMahon,


My name is Cortney L. Baird, I’m currently a resident of Los Angeles County,
California, however I was born, raised and formally educated in Philadelphia,
Pennsylvania. I’ve been employed as an accountant for the past 23 years.
Craig Carton has been a good friend of mine for almost 25 years. I first met Craig
in 1994. At the time, I was finishing my undergraduate degree in Accounting and
Finance, having funded my own college education and Graduate Degree, I was in
need of a new job. My first meeting and interaction with Craig was as an employee
of his when he was an owner of a local restaurant in Center City Philadelphia. It
wasn’t long before Craig and realized we knew several people in common, which led
to the beginning of a not only a great working relationship with Craig, but
ultimately a 25 year friendship. Craig is and has always been that kind of friend
that everyone wishes and hopes they have in a true friend. Despite the several
geographic locations that Craig’s career has taken him, or my relocating to
southern California in late 2007, Craig has always been there for me for every
milestone good or bad in my life since we’ve been friends. However, sadly in life
you get to learn who you’re true friends are when you find yourself at your own
personal bottom, whether it be a physical, spiritual, emotional or a financial
bottom, your true friends show up and stay. That’s the kind of friend Craig Carton
is.
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Without going into too much detail about my life, I would like to share with you two
examples of Craig’s unique character and friendship that have gotten me through
two of the toughest periods of my life.
I have been a full-time single mother to my now 13 year old daughter since she
was just a few weeks old. In March of 2007, when my daughter was 18 months old,
she was kidnapped and I suffered life threatening injuries due to a violent assault
which resulted in my being hospitalized for several months. Thankfully, my
daughter was found unharmed and I’ve since made a full recovery. Ironically, Craig
was on the air in Philadelphia that night, and was the first to announce/issue the
Amber Alert for my daughter. Craig was not only a regular visitor at the hospital to
visit me, cheer me up, bring me my favorite foods, music and occasional request of
mine from home but he also ensured that my daughter was taken care of too. My
daughter was staying with an out of town family member while I was hospitalized,

anytime if need be. He also visited with
                                        -
however Craig offered to have my daughter be cared for by he and his wife at
                                                and was one of the few friends in my
life that not only showed up when this event first happened, but was there through
my release from the hospital months later. It’s difficult to put into words what his
friendship, loyalty and support did for me during the lowest, most challenging time
of my life.
The second example of a time Craig has been an exemplary friend and human
being was shortly after my daughter turned 8 years old and was diagnosed with
Tourette’s Syndrome. I called Craig. Craig’s Tic Toc Stop Foundation was already up
and running helping countless children that are affected with this Syndrome and
once again, at now my lowest moment as parent, unable to “fix” what was



                                                               -
perceived at the time as a crisis, Craig was there for me. He directed me to the
best doctors, the best treatment options, of course offered for       to be a camper
at the next Tic Toc Camp the following summer and went above and beyond to
ensure that we had every bit of information possible to ease and educate both my
daughter and I.
In addition, I’ve witnessed Craig come to the aid and to the ease of countless
parents and children upon Tourette’s becoming a part of those families reality.
Your Honor, this amazing man, father, husband and friend is not perfect. He suffers
from a disease, the disease of addiction which Craig’s addiction is gambling. It is
this addiction to gambling that led Craig to commit the crimes for which he has
been found guilty. He’s NEVER has been a dishonest, secretive or reclusive person,
but his addiction led him to be all of these. This is what any addiction will do.
However, addicts can and DO recover.
Craig is now a gambling addict IN recovery. He takes cares of his addiction on a
daily basis as would anyone with any other disease. He attends GA Meetings, he
has a sponsor, he works with others, he is in service. He can and will continue to
help countless addicts of all kinds as he continues to take care of and stay in
recovery from his addiction to gambling.
Prison is not where Craig belongs. This was not typical behavior of a man that has
spent the majority of his life as a great student, athlete, friend, father, husband,
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brother and son. He is of more value to the community and society in a position to
help others, be a voice and face to help others who suffer from the disease of
addiction.
Craig has four beautiful, loving children, that need their father at home with them.
For the benefit of not only his children, his wife but also the benefit of all the people
that he has the ability to help, just like he’s always done, I respectfully and kindly
ask you to please allow dear friend to remain free and not be sentenced to prison.


Thank you.


Kind Regards,


Cortney L. Baird
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        Exhibit
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November 15, 2018

Dear Judge McMahon:

I am writing in my capacity as the former on-air radio partner of Craig
Carton for 10 years.

As you might imagine, my feelings about Craig's situation began with a
mixture of confusion and anger and have devolved into utter sadness. The
Craig Carton I know was more than a dedicated broadcasting
professional; he was a genuinely compassionate human being.

On many different occasions, I have referred to him on the air as "Captain
Chaos" due to his unpredictability, his remarkable sense of humor, and his
off-the-wall opinions that served to "make good radio" and help improve
"the show." In our business, you either "bring it everyday" or you lose your
job. And , day in and day out, he brought his "A-Game" every morning.

In retrospect, Craig's natural talent and steadfast consistency were all the
more remarkable in light of the numerous debilitating mental health
cond itions from which he suffers, including Tourette's Syndrome, ADD ,
OCD, and Restless Leg Syndrome (among those of which I am aware).

Sitting next to him in the studio for hours on end, it often felt as if he were
fighting himself in so many ways. In fact, I now look back on some of my
public comments with a sense of guilt, realizing the impact they may have
had on him. Nevertheless, he always took everything in stride and


                                       1
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sometimes, I'd swear he would wear all of these slings and arrows as a
badge of courage.

Even as I watched Craig battle his Tourette's every day (fighting the
disorder without any medication), I was impressed by how determined he
was to do more than passively suffer the consequences. He wanted to put
a face on Tourette's - and boy, did he ever! He started his own
TicTocStop Foundation to create a camp for kids with Tourette's (Camp
Carton), which was a huge success. (Two of Craig's children also suffer
from this neurological condition.)

Craig also used the influence of our radio program to offer assistance to
many in need. Case in point: When Craig met Mikey Nichols, a New
Jersey high school hockey player who was paralyzed in a game, he was
so inspired by this remarkable young man's story that he decided to help
raise funds for Mikey and his family (as well as for the Christopher & Dana
Reeve Foundation). [Mind you, this came after he had already met
Rutgers football player Eric LaGrand (who was paralyzed in a football
game) and helped get his story out.]

Craig had the creative vision to produce a major regional charity fund-
raising event. And although he himself had never played hockey in his life,
he willingly volunteered to don the goaltender's protective equipment and
stand in front of the net while real NHL players (albeit retired) fired shots at
him. Craig knew he would be ridiculed and mocked, but he didn't care as
long as we raised money to help the Nichols family.

Now, five years later, the event Craig helped create has become an
annual staple hosted by the NHL New Jersey Devils at the Prudential
Center in Newark. This charity function, and all of the goodness
associated with it, stem from the wonderful heart of the Craig Carton I
know.

I could go on and on about how much good Craig created for so many
individuals and so many worthy causes, including my own foundation for
the fight against cystic fibrosis. In the decade that we worked together
professionally, Craig never once said no to any philanthropic request. He
willingly put his heart into all of it. And this will always be a major part of
his legacy on the positive side of the ledger.

Honestly, I remain at a loss trying to figure out when and where it all went
wrong.

As I read the accounts of the trial, I was saddened to hear of the gambling
debt he accrued and the pressure that he was under. Knowing Craig as
well as I did, it doesn't shock me that he never asked for help. He's too
proud for that.

Not once did he ever ask me for anything or put me in harm's way. And for
that, I'm grateful. While the morning show at WFAN has succeeded in
putting this behind us, it will take me some time to truly forgive Craig for
                                       2
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putting his family in such peril. I especially feel for his four beautiful
children, who've had their world rocked. In their eyes, Craig was larger-
than-life!

Through watching this painful ordeal unfold, I personally have come to
appreciate just how destructive gambling addiction can be (and all the
more so to someone already struggling with the aforementioned mental-
health hurdles that afflict Craig).

In closing, while there is no way to minimize the incredibly sad situation
that my friend and former partner got himself into over the past two years,
I truly hope that the Court can see that there really was so much more to
Craig Carton.

Sincerely,

Boomer Esiason




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                    D-5
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Craig Carton Letter




I went to Camp Carton this summer and I enjoyed it so much. It was one week
that was the best week of my life. Ever since I got diagnosed with Tourette
Syndrome I don't often feel truly happy, but every day there, I was. Craig Carton
told us when we first got there, that it's a camp for Tourette Syndrome, but we
don't have to do anything about it there. Everybody is the same. He wanted us to
have the one chance to be ourselves and everybody else is just like that and okay
with it. He could not have been more right about that. It was the best things I
have ever experienced. The second I got home all I could do was wait until the
next summer, when I could go back and have another great week. But now, I
guess I can't. Taking away Craig Carton is the biggest mistake. He isn't a bad
person. He made a camp for kids who have disorders and problems to be with
other kids and make bonds. I know for me, I made some of the best relationships
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I've ever made. Everyone there understood me, and it was something I'd never
experienced, but only wanted my life to be exactly like that. Taking him away
means destroying the one thing that kids with a disorder enjoy. All I can really
say is, that while you're there, it's like the best dream ever. And the second you
leave and go back to your regular life where nobody understands you, is like
going back to reality, and knowing that the perfectness isn't there anymore. All I
want to do is go back to Camp Carton every year, with Craig in charge. I want
that to be a reacurring dream, not a one time fantasy. Just like all the kids I went
to camp with. Lately I've hated it at home, and it hasn't been easy for me to like
living here. Nobody understands me, still. No matter how hard people try, they
never will. And the only thought that cheers me up is the thought of Camp Carton
waiting for me next summer, ready to tum my life around again and give me
another great week. As you can tell I feel very passionate about camp and I can
assure you that every kid who goes there feels the exact same way as me. And we
all love Craig Carton. He is the one who provided us with this happy place, and
even though I barely knew him, I know that you can't put him in jail. He's such a
great man and has done wonderful deeds and even after all of this, he is still my
biggest role model. By taking him away, you are affecting all ofus kids who love
him and his camp. After all, we are kids handling Tourette's Syndrome. We've
already put through hell. Don't put us there again.




(Camper)



Sent from my iPhone




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        Exhibit
                    D-6
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Gary DiBartolomeo

Margate, NJ
Date: 1/30/2019

To the Honorable Judge Colleen McMahon

My name is Gary DiBartolomeo. I am a Vice President of Operations at Golden Nugget
Atlantic City.
I am writing today to ask for an open Mind in the sentencing of my friend Craig Carton, I
have known
Craig for the past ten years, In this time, He has proven to be of fine and responsible
character;
always true to his family.

Craig has confessed to a serious lack of judgement. He has expressed remorse and a
strong desire to
address the personal issues at the heart of this matter. Craig has a strong personality. He
is a very
 kind person. He is always looking to help anyone in need!

I believe Craig is a compulsive gambler, and he needs to deal with his disease because
when you do not;
you see the wreckage that happens! It makes good people do things out of character. I
know this is true
because I have been in recovery for 19 years. The Diagnostical Statistical Manual-5
classifies compulsive
gambling as a disease. With that said, Craig must be held accountable for his actions.

I only hope that you show mercy in his sentencing. Craig and his family had already paid a
dear price.
Going forward, I believe it is about his rehabilitation. There is hope!

It is my sincere hope that you keep this letter in consideration at the time of sentencing and
consider

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it to the minimum and that you make Gambles Anonymous and therapy a part of all this. I
believe in
Craig and I believe in Gamblers Anonymous!

I know that he is a good man! He can be a strong voice for all those that are affected by
this insidious
disease! This can turn out to be a very successful story if Craig gets into recovery.

God works in mysterious ways!!

Sincerely, Gary DiBartolomeo




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        Exhibit
                    D-7
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Succasunna, New Jersey     1111

February 15, 2019

Honorable Judge McMahon

RE: Sentencing of Craig Carton


Dear Judge McMahon:

I am writing to urge leniency in the sentencing of Craig Carton (my GA brother Craig C). I have known
Craig C since he walked into our Gambler’s Anonymous Meeting room last year. My name is Mary H and
I am a compulsive gambler. I have been coming to our Gamblers Anonymous meeting room since March
12, 2016. Craig C will be the first to admit today that he is a compulsive gambler. I know from my
personal experience making that admission is the most self-reflective statement that one can make. We
are told in our Unity Program that “Anonymity is the spiritual foundation of the Gamblers Anonymous
program”. Being a person in the public view Craig C is not afforded anonymity that the rest of us
experience in the Gamblers Anonymous program. I truly believe that Craig C has so much to offer the
program with his outstanding communications skills. Craig C can begin to put a face on the downside of
gambling, a voice where there isn’t one today.

Since joining our Gamblers Anonymous group Craig C has offered insight, help, support and a listening
ear to the newer GA brothers and sisters in our group. If anyone listened at our meetings they will
noticed a common character thread between us all no matter what type of gambling we did horse racing,
casinos, lottery, sports betting, bingo, day trading, Internet gambling, home poker games or illegal
gambling. Compulsive gamblers have been used and abused by the payday loan companies, friends
have abandoned them and relatives have rejected them. Only when the compulsive gambler stops
gambling then we realize the damage we caused. This is the same situation with most compulsive
gamblers including Craig C.

Most other addictions the addict is stopped by their addiction – an alcoholic or a drug addict usually will
pass out from their drug of choice so they naturally are forced to stop for a while. A compulsive gambler
only stops when we run out of money and this is why most gambling addicts turn to lying, borrowing,
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stealing, selling, embezzling, anything to get the money to continue gambling. When in action most
people do not believe they had a gambling problem like Craig C until they hit bottom, looked for and find
help.

I believe Craig C is in the unique position if allowed to create considerable inspiration by bringing the
stories of hope, recovery and understanding of the gambling addiction. I feel Craig C can help real
people find solid recovery from gambling before their lives and their families’ lives end in tragedy. I think
he can share hope to someone facing a gambling addiction. He and I are both aware of the gravity of the
crimes he has been convicted of. However I have seen him be there for others in our GA group
struggling with their gambling addiction. I would like to give you a perspective that he is more than the
sum of his actions before he entered recovery in the Gamblers Anonymous program. Given the potential
of Craig C persona and his close ties to the Gamblers Anonymous program I am strongly asking for
mercy in his sentencing. I honestly feel society would be better served if Craig C was dedicated to
reaching out to the gambling addict still suffering. The man standing before you for sentencing is not the
same person who was arrested for his crimes. Craig C is someone who is committed to his Gamblers
Anonymous recovery and the character defects that lead him down that path.

At least 49% of people struggling with gambling have considered suicide. It is estimated one in five
gambling addicts will attempt to kill themselves, which is twice the rate of other addictions. Also there is
the concern that a gambling addict could also commit murder-suicide. We have had people in our GA
group who have attempted suicide and since our program is one of anonymity we have no way to know if
the reason why an addict didn’t come back to our room is because they did commit suicide. If gambling
recovery help was openly communicated and easily available like the programs I think Craig C could
share maybe, just maybe some of these addicts would turn to recovery rather than taking their own life or
the lives of others. I see Craig C being able to make a difference with his understanding of how
desperate a compulsive gambler can become.

 In the Gamblers Anonymous program we have met people from all walks of life with one thing is common
they all are compulsive gamblers. Who tells their stories so other people not in the recovery know there is
help and they are not alone? There is a need here that I believe Craig C could help shed light on the dark
side of gambling. Craig C understands the destruction of compulsive gambling and could offer help to the
person who finds they can not control their gambling? Today there is a need for this type of gambling
education and I firmly feel that Craig C is in the position to initiate such a program. It is hard to look for
help when online gambling is as easy as ordering a pizza.

There is no DARE-like school program on the vices of gambling. In legal gambling all that is seen is the
glory of Las Vegas, Atlantic City, Empire City, Foxwoods, Mohegan Sun, cruise ships casinos and the
Kentucky Derby but never the downside of gambling. I honestly believe given an opportunity that Craig C
can make a difference. It appears legalize gambling is only increasing in scope, accessibility and
opportunity. As long as state governments are open to receiving the income of legal gambling the
problem of out of control compulsive gambler in society will only increase the scope of abuse. I would like
to see Craig C be able to open the doors of recovery for the compulsive gambler who is still action and
they don’t know what to do next. I believe Craig C could begin sharing the path of recovery for the
gambling addict and their families. No gambling addict’s addiction only hurts the addict in action. The
entire family is hurt, possibly destroyed by the betrayal, the lying, legal issues, financial problems, the
trust lost, stealing done for gambling.

Legal gambling is all around us in society today. The State governments not only allow gambling they are
also benefiting from legalized gambling. State governments are taking the income and turning a blind eye
to problems gambling can be for some people. The State governments believe since they have
communicated “play responsibly” and “if you have a gambling problem call 1-800-GAMBLER” they are off
the hook. Most gambling addicts do not believe they are truly addicted to gambling until it’s too
late. Most people have heard for gambling problem call 1800-Gambler but ask the majority of people if
they know who is behind that telephone number for help and they usually have no idea. In this area that
Craig C can bring the most awareness to the destructive side of compulsive gambling. Everyone knows
about the Alcoholics Anonymous programs, drug addiction programs and even rehabs for alcoholics and
drug addicts but very little about the compulsive gambler and their addiction.

I am not minimizing the crimes Craig Carton has been convicted of but his story of recovery with others
gambling recovery stories shared by Craig C in any format will help the compulsive gambler still
suffering. We never graduate from the Gamblers Anonymous program. We learn to live one day at time
                                                      2
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with the help, love and support of our GA brothers and sisters. We are a fellowship of men and women
who share our experience, strength and hope with each other as the main reason we are able to continue
in recovery. It is not a question of willpower. The only person who understands the actions of a
compulsive gambler is one in recovery.

I would like to thank you Judge McMahon for taking the time to read my letter. I hope it has provided
helpful context for understanding how Craig C life and actions were impacted by his gambling
addiction. Also how Craig C has embraced his Gamblers Anonymous program and recovery. I believe
as long as state governments are receiving income for gambling the problems and numbers of
compulsive gamblers will increase. I believe my GA brother Craig C can offer help to a gambling problem
that will only continue to grow.. Thank you.


Sincerely,
Mary Hawley




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 12/11/2018


Dear Judge McMahon,

I first met Craig Carton during a parent/faculty meeting at my school in the late
summer of 2012. I was aware of his celebrity status in the media although I was
not a frequent listener to his radio show. We began a conversation about school
safety and was very impressed with both his questions and his listening ability.
He was very down to earth and seemed very different and more serious than his
radio personality.

 Each afternoon, for the last 6 ½ years with rare exception, Craig comes to the
school to pick up his 4 children. That is a complicated task since each child has
different dismissal times and different after-school activities. He is as devoted
and loving a father as any child can ask for. His children are filled with love and
adoration for him as well. He is also very well-grounded in his approach to their
upbringing and refuses to spoil them with material goods unlike the majo.rity of
our wealthy parents. His children (my heart aches for them) are amongst the
best-behaved, well-grounded, polite and happy children you can ever meet. That
is not an accident. That is a direct result of Craig and Kim's parenting.

I am still personally involved in a number of police organizations which raise
money for different causes. Over the past several years, we have seen an
unfortunate increase on targeted attacks on the NYPD and law enforcement
officers all over the country. Those attacks have resulted in the deaths and
serious injuries of numerous members of the our Finest. While it has become
fashionable in many circles to publicly attack the police, Craig and his former
radio partner Boomer Esiason have both publically and privately supported the
NYPD. Whenever I would ask him to help with fundraising, his answer without
hesitation would be yes. Craig was instrumental in organizing several charitable
events which went on to raise over $100,000 to assist the families of those slain
and injured officers. As a member of the NYPD Holy Name Society, I nominated
both him and Boomer for "Man of the Year" awards at our annual breakfast in
2017. They were both the first "non-Catholics" to receive this award in the all the
years of this event.

This leads me to my final statement about Craig Carton of whom I count as a
dear friend. I spent 20 years in the NYPD (1984-2004, 6 of those years in
Narcotics), working in the highest crime neighborhoods, involved in thousands of
arrests. This may sound counterintuitive but I believe I was blessed to be
exposed to worst of humanity because it also exposed me to the best of
humanity. Addiction, in any form is a terrible thing where the addict feels he/she
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has everything under control until it isn't. They lose control incrementally without
seeing the potential harm it can do to their loved ones. Once the steep slide
begins, all efforts at trying to stop it are futile. So many families are victims of this
terrible behavior. Exposed to the right treatment with incredible, selfless
counselors and under the right circumstances these addictions can be overcome.
I know Craig well enough to know how contrite he is, how aware of what a
terribly, deep, dark hole he has dug himself into and the pain and suffering he
has caused to his loved ones. He Is a good man with a very big heart who has
done a bad thing. He has every motivation to turn his life around. I am praying
that you can temper justice with mercy. Craig has already taken many steps in
his path towards redemption for his family, his friends, his victims and most
importantly himself. Two things that I am sure of is that there is far more good in
Craig then these bad acts demonstrate and that he will redeem himself when all
the dust settles.
Thank you for your time.
Since,,
/!
 •
   ~    ·-•


Joseph Millan (Retired NYPD Lieutenant)
Director of Security, New York Campus
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V: 646.664.0891
imillan@avenues.org     I www.avenuesnyc.org I blog: open.avenues.erg
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Dear Judge Mc Mahon,

My name is Judith Chalme and I have been fortunate enough to have had a relationship with
Craig Carton for almost 20 years as a co-worker and friend. I would like to take this opportunity
to give testimony to the type of person he is.

Having worked in the radio industry for the last 30 years, I can tell you that in our business,
Craig is anomaly. Throughout the years we worked together, when others were looking forward
to their next personal appearance, Craig was rushing home to his family. When others in our
industry were getting caught up in the fame, Craig was trying to make his wife and kids proud.
When others were fighting for more money to buy fancy cars, Craig was planning out another
charity event.
As any friend or associate of Craig's knows, he is a loyal friend, a devoted father and husband,
and a hardworking and generous co-worker. In light of this, our families became fast friends.

In 2007, when my husband was diagnosed with lung cancer, his friend Craig Carton was one of
the first people to rush to his side to visit, because that's the kind of friend Craig is. When you' re
in trouble, he is the first one there. When one of my children was despondent over his dad's
illness, Craig was there to bring him an autographed basketball and try to teach him to shoot
hoops. It's possible Craig wouldn't even remember this particular act of kindness, as he devotes
so much of his life to helping children that it may have gotten lost in his memory-But not in
ours. The list goes on.

When Craig became financially successful, his first thoughts were of what positive change he
could affect with that success. To that end, he established Tic Toe Stop, a charity we gave
generously to and felt good about doing so. I'm thrilled that we were able to help him help so
many children who suffer from Tourette's Syndrome.
During family get-togethers and vacations, we adults would often find Craig off with the
children, as he was as excited about being with kids-all kids-as they were about being with him.



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As one might imagine, the real Craig is vastly different from the radio-host. Though he's
extremely charismatic, those who know Craig Carton well also know his humility. As you know,
this is an unusual combination of character traits and not easy to maintain, especially given his
celebrity, but Craig is soft-spoken and humble despite his fame.

Aside from our friendship, I have had several business dealings with Craig over the years. In
each of these situations Craig was honest, proper, respectful, and perfectly professional.

If you receive other letters attesting to Craig's fine character, you are likely to read variations of
the following over and over, because it is what stands out most about him-and it is this:
As a mother of 4 and grandmother of 5, I have NEVER seen the level of devotion to one's
children that Craig has. Period.
Inasmuch as children are a reflection of their parents, His 4 children tell the whole story of Craig
Carton. He has been blessed with Mickey, Sonny, Lucky and Anthony, 4 of the most remarkable,
respectful, bright, giving and secure children you could meet. I believe that this is because of the
kind of man he is, the lessons he teaches, the standards he upholds and the example he sets. To
me, that says it all. And for the sake of them, I would implore His Honor to take all of the
aforementioned into account when considering his case.
Thank you for your attention

Respectfully,
Judith Chalme




Sent from my iPhone




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Dear Judge McMahon,

I have had the pleasure of knowi ~ i g Carton through the amazing connection I was able to
establish with him while my son - w a s attending Camp Carton during its inaugural year in
the summer of 2015. During that week of camp, my son who was 11 at the time and who suffers
from Tourette Syndrome, OCD and Aspergers, was really struggling with being away from home
for the first time. He called me several times that first night extremely homesick, pleading with
me to bring him home. But all his fears and apprehension about stickin~ for the remainder
of the week were alleviated the next day when Craig personally sought -◊ut to have a heart
to heart talk with him and reassured him that he was strong enough to stay. Because of that
intervention, llllllllwas able to finish out the week and he has gone back to camp every summer
since. That w""as""the' beginning of their very special friendship, and the effect it has had on my
son and our family has been life-changing.

Craig, Camp Carton and the Tic Toe Stop Foundation became our guiding light leading the way
in our fight for Tourette Syndrome awareness and acceptance. Our association with Craig gave
Ethan~form to raise awareness in our community and at public speaking engagements, and
gave-the courage and self-esteem needed for him to start educating his peers and
advocating for himself in his struggles with bullying at school which is far too common in people
who suffer from this very stigmatizing disorder. Seeing Craig successfully living with Tourette's,
hearing his inspiring words of encouragement at each encounter, an~ersonal connection
Craig established with him and maintains still to this day, has made-feel more confident in
dealing with his daily struggles.

The opportunities Craig provided introduced us to a network of other kids and families making
us feel less alone and supported. Prior to this, we didn't know any other people who were living
with Tourette Syndrome.

Thanks to Craig, -ound his voice and he has hope for a brighter future that he didn't have
before. It really is mcredible that Craig has taken the time to call, text and check up on -
between summer camp sessions just to make sure he is doing well, to offer him words of wisdom

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and encouragement in order to keep him going on the right track and to reinforce all the
wonderful feelings he comes away from camp with every year. Craig has truly been a blessing
to -    and our family. I honestly can't imagine where we would be right now without him.

Your Honor, I respectfully implore you to take all of Craig's charity work and everything he has
personally done for my son, the other kids who attend and count on Camp Carton, and tl1e
Tourette's community as a whole into consideration during your deliberations. And I thank you
for taking the time to hear our story.

All my best,

Connie L. Smjth




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                                                              Retired NYPD Sgt. Reginald Henry




February 15, 2018

HonorableJudge McMahon

Dear Judge McMahon,

I initially knew of Craig Carton like most New Yorkers do, by his famous and larger-than-life persona on his
sports talk radio show "Boomer and Carton" but little did I know that within a year's time I would be lucky
enough to call him a personal friend. Craig is the truest definition of a friend: "a person whom one knows, likes,
and trusts; a person with whom one is allied in a struggle or cause, a comrade; one who supports, sympathizes
with, or patronizes a group, cause or movement..." and all of this to a complete stranger like myself grieving the
unexpected loss of another friendJoseph Lemm.

In January of 2016, I contacted Craig Carton's office and left a message about participating in a charity and
memorial basketball game for fallen fellow NYPD Det. Joe Lemm killed in action on December 21, 2015 in
Afghanistan. Craig could have easily never replied back or sent word that his scheduling was limited and I'd be
none the wiser, but he did the exact opposite. My expectation of having him be a celebrity participant was
blown out of the water by Craig's enthusiasm to make this more than a high school gym fundraiser. His ideas
and heart were so genuine during our first meeting that he made me believe that we could do right and truly
honor Joe Lemm's favorite passion basketball while raising funds for his family facing the unbelievable future
withoutJoe. However what I had pictured and what Craig realized was simply apples to oranges. He was
instrumental in securing NBA Basketball Hall of Fame player & the Head Coach Chris Mullin of St.John's
University and the game being played on their home court as a nationally televised charity game.

With Craig's profession it's easy to mistaken him as just a "talker" and show-man but this couldn't be further
from his true character. He is a doer and someone who acts than rather merely talking or thinking about getting
it done. This was most evident when Craig gave of all of himself to ensure the financial and legal responsibilities
so participants had uniforms, sponsors to televise event with announcers and reporters, renown New York sports
athletes eager to help. Craig was our "captain, point guard and leader" from start to finish. Although what I
remember most was how he never once asked for credit or took the spotlight; Craig did everything behind the
scenes never once asking for any accolades.

There is also Craig's genuine appreciation and the love of our military and the NYPD officers. He is in a great
position to give back and did just that when he helped raise a significant of money for the Lemm family. Craig
brought honor to the heroismJoe Lemm lived by day to day in both the military and NYPD. He orchestrated a
grand stage where Joe's stepdaughter-sang the National Anthem and his son -ipped off the game
with a slam-dunk assisted by Herb Williams. These were some of the very first happy memories for them and all
of us following five months of grieving our beloved friend. While this wasn't his first or last charity event, it was
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by far, for us all, an amazing first step to celebrating a remarkable individual. Craig knows the true meaning of
"it's not what we have in life but who we have in life that matters;" how else could he be so selfless?

I've learned a lot this year from knowing Craig and what I can say is that a friendship isn't about who you've
known the longest, it's about who walked into your life and said "I'm here for you" and proved it. He is a good
man, someone who was always looking to do the right thing for people and understands that he can make a big
difference in people's lives especially those affected by tragic events. I'll say this one more time, Craig does this
out of the kindness of his heart and for all the right reasons.

I've shared all of this with you,Judge McMahon, so you can know my friend Craig Carton. I would like you to
remember all this about my friend because he's not perfect may have made mistakes but please don't forget ALL
the things he did right!



Sincerely yours,

Reginald Henry
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To whom it may concern,

My name is Dana Wachter. I am a registered nurse, a mother, a former board member of Tic Toe
Stop and an advocate for children with Tourettes. That is where I met Craig Carton. At the time,
in March of 2013, I was looking for someone to help me bring awareness to a new holistic
treatment that dramatically helps children with Tourette's. I decided to reach out to Craig as I
had met with many doctors for over a year and quickly realized that I wasn't getting anywhere
with them ... essentially, as doctors although they believed in the possible treatment, they weren't
interested in the time and effort necessary for the research, which would have required fund
raising, and significant time to clinically research the possible Tourettes treatment with children.
So, at a time of desperation to bring this to market, I reached out to Craig, as I knew that he had
Tourette's, and that his children also suffered from tics. Being a radio personality, I thought that
he could help bring awareness and help with treatment, as well as the research and fund raising
efforts. Up to that point, I did not know Craig.

It wasn't easy getting in touch with Craig, but once we did speak I was very impressed by his
receptivity. In fact, Craig spent an ample amount of time from his busy schedule to meet with
me, speak to the doctors involved at the time, and understand the treatment presented to him. He
also spent the time to watch several "before and after" videos of children who suffered from tics,
who demonstrated signs of significant improvement with the treatment. It was then that Craig
called me and said "those kids in the video aren't lying, what can I do to help". From that
moment, Craig was "all in". He had one goal - to help the kids, and his actions over the next
several years demonstrated his passion for the research, and the kids.

Craig used this as an opportunity to start a non for profit foundation, Tic Toe Stop. Through the
Foundation, Craig was directly responsible for raising over a half million dollars, which was
used to conduct research for the treatment that I originally introduced to him. We worked well
together... .I was the medical liasion, whereas Craig drove all aspects of the research efforts from
fundraising to driving the overall Tic Toe Stop efforts. This also included a week long fully
funded sleep away camp started where up to 60 children with tics attended, at no charge to the
family. This camp was hosted first in Ramapo NY, then later in Hopewell Junction, and ran from

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2014 through 2017. In running the camp, Craig was adamant that the Foundation would never
charge the families, and that it would be sponsored by The Foundation. His fundraising efforts
saw to that. He also actively particpated in the camp, interacting with the kids and families.

I was very fortunate to have the pro bono role as the Director of Patient Relations for TTS. In
addition to the liaison with the researchers, I was also the liaison with parents who would contact
me about their child suffering. In each case, I would notify Craig who would almost immediately
reach out to the parent and child personally and offer his support.

Many "know" Craig as a radio personality, one who causes much controversy by taking
controversial stands on his show as it relates to sports teams and figures. To me, that is just his
"radio personality". It is when Craig is off the radio that I feel the real Craig comes out...when he
shares stories about his experience with the children of the Foundation, stories where a child is
being bullied at school and Craig goes to speak to the school to educate these children, ending
with these children raising their hands to share stories of their imperfections and medical
challenges. It is with these stories that Craig lights up saying how "awesome" the experience
was. He loved going to schools and being with the kids. He wanted to make a difference in their
lives, and did. The Craig I know is someone who dedicated his time to helping others, to making
a difference in the community, to protecting kids and working with the Foundation to find a
possible cure. Through his efforts, he personally helped numerous kids and the research that he
supported will, hopefully, help change the world and lives of every kid suffering with Tourettes.
Craig is passionate, caring and gave his time and made significant efforts, the results of which
are outstanding. He truly made a tremendous difference in the lives of so many who suffer from
Tourettes. Nothing can change or take away from that, and it is something that he, and the
Foundation is (rightfully) very proud of. And, it is something that never would have happened,
had Craig not taken my phone call, not watched the videos and jumped in - - totally - - in the
fight against Tourette's and the Formation of Tic Toe Stop Foundation which was the vehicle to
make it all happen.

If you have any questions please feel free to contact me.

Dana Wachter


Sent from my iPhone




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Honorable Judge Colleen McMahon:

Your Honor...
You may soon be receiving correspondences on behalf of Craig Carton from
many of his friends, family and co-workers.

This will be the only one you'll receive from all three at once.

I apologize for the pomposity of that statement.
But I believe myself to be the only one capable of making it.
Thus I feel uniquely qualified to speak to his character.

I met Craig in 2003 when we became colleagues at a local New Jersey radio
station. We quickly became friends.

Within a year Craig and his wife had made myself and my wife part of their
extended family. A bond that remains intact to this day.

My wife and I had never known such generous people. They paid for dinners,
vacations, flights and hosted numerous parties each year.

We had also never known such committed and dedicated parents,
as we had both come from broken homes.

Up to that point, I had never had a positive male role model.
Craig became that man.

In Craig I realized it was possible to be hard-working
AND a dedicated parent. I had never known or believed that a man had the
capacity to be both.

And so today, through that chance meeting with Craig over 15 years ago, I find
myself more hard-working and more dedicated to my own children then I ever
thought possible. That’s the truth.
And that can't be a coincidence.

All these years later, as I've watched his children grow, it doesn't surprise - or
anyone who knows them - that they are all brilliant, athletic and content.
Again…not a coincidence.

Those kids hit the "parent lottery" when they were born. And the impact his
incarceration would have on them will be tenfold any actual sentence to Craig.

That's the sentiment I hear most often from the Carton family and friends.
There are many, and I see or speak to them quite often
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I have spent the past two weekends with Craig's brother in law discussing that
very thought. We all want to help, but know that Craig's presence in their lives is
ultimately irreplaceable.

And frankly, so is his earning potential.

Never have myself, or ANYof Craig's colleagues worked with a more talented
individual. His rare ability to earn represents, to me, a chance for restitution.

Restitution not only to those who may have been wronged, but to his family who
has now gone more than a year without a steady paycheck. Are talent and a stack
of bills a defense? Certainly not.

But if you’re asking me Craig's biggest fault it’s simple.
Generosity.

Generous to a fault is what the old-timers would always say.
Always picking up the check. Always providing an even larger home.
Always delivering equipment to the kids at Camp Carton.

None of us question his intentions, because they’ve always been to take care of
everyone else for life.

John Lennon is a personal hero of mine.

Craig reminds me of him in many ways - except that Lennon made the one smart
move that Craig didn't.

John gave Yoko the checkbook.

I’ve watched four amazing kids suffer through over a year of pain that feels to
them more like 10.

It’s Craig that may be sentenced but they who will feel it.

Craig has a rare gift for reaching millions of people.
People who might be saved from making the same mistakes by hearing his story.

I would ask that you sentence him to years of public service in front of a
microphone.

He is also the best public speaker any of us have ever known.
Please take that into account .

And take his checkbook.
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Thank you for your time.

Sincerely,
Chris Cannon
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                                Christine DeGuisto - Lemm




    February 12, 20 I 8

    Honorable Judge McMahon



    Dear Honorable Judge McMahon,

    I met Craig Carton for the first time in the winter of 2016. Craig reached out to me to
    extend his condolences on the loss of my late partner, KIA 12-21-15, Joseph G. Lemm
    who served our Country as a Tech Sergeant and also a Detective for the NYPD. Joe lost
    his life fighting overseas in Afghanistan on deployment with the Air National Guard in a
    suicide bomber explosion. As you could imagine I was at the worst point in life anyone
    could ever imagine. Faced with losing my partner, having to raise our son and
    stepdaughter alone was not something I thought I was strong enough to handle.

    Craig Carton was instrumental in helping my children and I get through our worst
    nightmare. He brought such awareness to honoring and remembering Joe. AdditionaUy,
    he raised enough funds so that I wouldn't have to worry about how to handle raising my
    then four year old and sixteen year old. Craig utilized his contacts, his celebrity and most
    importantly, his kind heart to spearhead a Charity Memorial Basketball game in Joe's
    Honor. Joe's favorite sport was basketball, he played right up until he could no longer.
    The Memorial game was an event that my children, family and friends will never forget.
    I didn't know that a total stranger could be so amazing, compassionate and patriotic an
    indivi(lual. The best way I would characterize Mr. Craig Carton is seJfless, caring and a
    true patriot. I will be forever grateful to Mr. Carton.

    If you have any questions, please do not hesitate to contact me.



    Sincerely,
                 ,

             ,
                 ..



.       ~
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                                        Susan Korenberg




                               December 30, 2017



Dear Judge McMahon:

I am writing this letter on behalf of Craig Carton who, as you know, is currently facing some
rather serious criminal charges.

I was fortunate to meet Craig (as he asked us to call him) when my daughter was afforded the
opportunity to attend his wonderful camp, Camp Carton. My daughter, just like Craig, suffers
from neurological and psychiatric conditions, namely obsessive compulsive disorder, Tourette
syndrome, generalized anxiety and attention deficit disorder. Last summer, however, we were
fortunate to find Mr Carton and his camp, and my daughter "finally found people who really get"
her. (That is her direct quote. Apparently, she has never felt accepted or "normal" until she was
allowed to attend Mr. Carton's amazingly inclusive camp). Notably, Craig offered his camp to
everyone free of charge so that no child would be denied for an inability to pay. And he wanted
to expand his camp to children from other states so that every child could have a "normal" camp
experience, an experience that many of these kids cannot have because they simply cannot
survive in a traditional sleepaway camp due to their tics and co-morbid conditions.

Craig interacted with the kids in a loving and totally natural way. He instilled in the kids the
belief that, while they have Tourette syndrome, the disorder does not -and should not-define
or limit what they are or who they can become. Indeed, he reminded the children that he was
on tv and radio despite his Tourette and tics. A career choice that one would normally never
associate with a Tourette sufferer.

Please remember that these are children who are accustomed to being bullied and mocked, so
Craig's words and strength, and his belief in their abilities, were very inspiring. Camp Carto,,
was a wonderful experience for my daughter and she is truly devastated that she may not be
able to return. Her ONLY friends have been from this loving camp.

As a parent, I was similarly devastated to learn that Craig's other endeavor, Tic Toe Stop
("TTS"), may cease to exist. TTS was extremely close to obtaining FDA approval for a dental
device which would potentially obviate the need for my daughter to be on so many (unproven)
psychiatric medications to try and control her tics. Currently, there is no medication that has
been proven effective for Tourette. Indeed, all of the medications for Tourette were created for
other conditions and are used off-label for Tourette- mostly unsuccessfully and with very
serious and harmful side effects. Craig's dental device-which he was going to be offering AT
COST, unlike other people who are offering the device for THOUSANDS of dollars- would
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have had zero side effects and could be used on an as needed basis. Craig spent years
researching and studying the dental device for the benefit of children (his own included) who
suffer with Tourette.

I understand the serious nature of the charges pending against Craig. I also understand the
incredible kindnesses and support that he offered many children and adults with his camp and
TTS. Kindnesses and support that these children rarely ever encounter. I hope that when you
consider an appropriate sentence for Craig that you consider the selfless and loving acts that he
performed for all of these children- and the many more acts of kindness and "paying it forward"
that i know he will happily continue to perform if he is allowed to do so.

Susan Korenberg
Mother of camper
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To the Honorable Judge McMahon,

I am writing this letter in support of Craig Carton. My name is Mike Barbieri and I am the
Executive Director of Downtown Giants Youth Sports. We are non profit youth sports program
located in lower Manhattan that runs sports programs for boys and girls from fust grade to eighth
grade. We also help kids in eighth grade get into high schools that have sports programs if they
wish to play in high school. We are entering our 13th year of helping young people of all
religions, races, creeds and economic stature. Over 35% of our children are on scholarships.
Craig Carton has been a great friend to our program for the last 4 years. As you can imagine, a
non profit youth sports program in lower Manhattan faces many challenges; none bigger than
finances and field space. When our program needed helmets and shoulder pads for our youth
tackle program, Craig made sure we received a donation of helmets and shoulder pads. When we
needed jerseys and flags for our Flag Football program, it was Craig who connected us and
vouched for us with NFL Play 60, the youth flag program administered by the NFL. When we
started a donation drive to cover expenses, it was Craig Carton who went to the New York
Giants of the NFL and got us a grant. All of this without anyone asking him. That is a man who
cares for others, a selfless man with a heart of gold who worries about others. Craig has given
our program the opportunity to play in venues like MetLife Stadium and Columbia University's
football field, with no cost to the program. These events provided memories to children that will
last a lifetime. This never happens without Craig's determination to give all children in our
program opportunities that they would never have otherwise. He does this and asks for nothing in
return. I have also in the last 4 years formed a relationship with Craig whereby I am proud to call
him a friend. I have come to know the Craig Carton that others do not see; the loving and
devoted dad who never misses his children's practices or games. He is totally involved in the
lives of his children, he is a good and decent man and a devoted husband to his wife, Kim. In
closing I'd like to give you one more example of the kind of man Craig Carton is. Craig has
always had an enormous amount ofrespect for the NYPD and the FDNY; they both hold a
special place in Craig's heart. This is well documented and Craig always had high praise for both
while he was on the air and held many events to support both organizations. Two years ago, the
President of FDNY Football reached out to me to ask ifl could get Craig to give the annual
FDNY-NYPD football game a little plug on the air as they were struggling with ticket sales that

                                                1
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year. I called Craig and the next day he had the President and coach along with a player from
FDNY on the air with him on his radio show, to talk about the upcoming game. He didn't have to
do this but this is typical of how Craig goes above and beyond to help others at no personal gain
for himself.
I ask that you look favorably and with compassion on Craig Carton and his situation.

Thank you for your time,

Sincerely,

Mike Barbieri


Mike Barbieri




Sent from my iPad




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January 25, 2019


To:    Honorable Judge Colleen McMahon
       c/o Gottlieb & Janey


Re:    Craig Carton


As I know Mr. Carton’s sentencing date is February 27, 2019, believing that one’s true character is
often exposed in times of adversity, I wanted to let the court know of my personal interactions and
experiences with him. I also wanted to share my observations of him as he is someone who worked
under my direction, during perhaps the most stressful period of his life.

I provided Craig Carton with the opportunity to host a radio program, Carton and Friends, on the
FNTSY Sports Radio Network, from March of 2018 until his trial started. This was not an easy decision
to make on my part given the fact that the show would possibly have to come to an end after just a few
months if he was found guilty of the charges levied against him. Additionally, I knew the negative PR
that both myself and the company I work for, SportsGrid, would receive given the crimes he was being
accused of at that juncture. But this also was obviously an extremely stressful period of time in Mr.
Carton’s life where he was awaiting trial for crimes he had been accused of. I made the decision to
provide the ability for Mr. Carton to continue to earn a living, not simply because he was a great radio
personality or that everyone deserved to be considered innocent until proven guilty. I did so because of
the goodwill he had built up to that point in his life through my knowledge of his track record of
meaningful charitable work, and kind, generous, genuine interactions he had over the years with many
mutual friends.

During this tension-filled time building up to when his fate was to be decided, he humbly treated every
co-worker with respect, going far out of his way, donating his time and benefits of his celebrity stature
and rolodex to benefit others. This included providing job recommendations and making introductions to
others for the benefit of his co-workers and interns. Additionally, the way he handled adversity both on
and off the air w/ the negative media reports being published and broadcast about him on a daily basis
was respectful and upstanding, entitling everyone to their opinion without confrontation. This was no
different with show callers or viewers of the show in chat rooms as he allowed everyone to speak freely
about his situation, no matter how brutal the take may have been, without comment or confrontation.

I would like to take this opportunity to ask you to consider that the involvement in the crimes Mr. Carton
has been accused and convicted of was not typical behavior for the way he has lived the majority of his
life. I believe my personal observations of the way Mr. Carton conducted himself under duress speak to
his larger life’s body of work. While he may have used poor judgement with regard to matters before
you, I’d like to ask that the quality of his overall body of charitable and good-natured way of living
throughout the majority of his life be considered in his sentencing.

Thank you for your time and consideration.


Sincerely,


Michael Cardano
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Judge Colleen McMahon,

I write to you with sincere respect and appreciation for your civic responsibility for securing the fair and
appropriate punishment for those that break the laws of our shared society, in this case specifically Craig
Carton. I have known Craig and his family for almost 20 years beginning when we first crossed
professional paths as we pursued our mutual passion and dream for careers in broadcast radio in New
York City.

Craig was the outgoing, boisterous on-air talent with a gift to engage an audience in front of the
microphone, while I was the more reserved or measured "behind the mic" executive. As the saying goes
"opposites attract" and over those two decades we both supported and encouraged each other's
development and was committed to mutual success. In the close-knit fraternal world of radio, it was not
uncommon for professional friendships to grow into genuine personal relationships. This was the case
with Craig and I where I was privileged to know the man behind the on-air bravado and see him as a
friend, son, brother, husband and father.

Over those nearly 20 years there were plenty of good days. Be it the days celebrating the birth of his
children or days focused on his charity to battle Tourette's which he and his children knew first hand the
struggles of or finally to days and days of industry accolades and ratings success. But of course, there
were plenty of challenging days as well just like with any relationship. Be it seeing Craig fired in 2001 for
no fault of his own only just due to the whims of the entertainment industry or to hospital visits or the
days watching him wonder how he would ever support 4 kids with the uncertainty and fickleness of his
chosen profession.

But all that said nothing compares with that day in September 2017 when Craig was arrested. Nothing.

I was on my way to the airport for an early morning business flight to Austin when the phone rang from
his wife, Kim, with the news. I was stunned and dumfounded. I cancelled my flight and drove straight to
meet Kim to assist anyway that I could in deciphering what was going on. I will never forget arriving at
their Tribeca apartment before 6:15am with the city streets still eerily silent and all four kids (Mickey,
Sonny, Lucky and Anthony) still sound asleep before school without any idea what had just happened to
their Dad on their front steps.

The tabloids and TV crews were all fascinated that day with the story of Craig Carton -WFAN radio star
- and as a media executive of course I was not surprised as it had the hallmarks of a juicy story. But
beyond the headlines those first few days I kept asking myself how this could have happened?

Hoping against hope could it all be a mistake? A misunderstanding? This was not the person I knew.

Obviously fast forward more than a year later and the picture is heartbreakingly clearer. We all now
know what happened and how it happened as it was methodically laid out in open court.

But why?

This is the question that I am became fixated on - why?

Why would someone who had a storybook life with a loving wife, four adoring children and a career at
the pinnacle of his industry with all the wealth and trappings that come along with it risk it all?
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In my humble and non-expert opinion, but with a foundation of two decades of genuinely knowing the
man, it starts with the disease of gambling.

Craig was not a controlled recreational gambler but in hindsight was an extreme out of control gambler.

He was unable to set limits and unable to walk away. Gambling was his drug.

As an on-air performer Craig had a skill to "act" and in his private life he used that trait to throw friends
and family off the trail of his addiction. But there were signs and f know many of his closest friends,
myself included, wish we would have pursued it and intervened. But he fooled us just enough - he was
that gifted a performer. You can usually spot the drug addict or the alcoholic but the gambler not so
easy. This is a regret f will forever carry with me.

The gambling trait was compounded by his ego. Ego is a healthy and necessary trait in entertainment
since you need a robust one to perform for a crowd and in the public eye. But in this case, off the air, his
ego did not serve him well.

Craig's pride would never allow him to show weakness or ask for help as doing so might damage his
perfectly crafted public persona which his entire career and income was based on. For this reason,
therefore, it was to be protected at all costs. The loudmouth, shock jock, self-proclaimed sports and
gambling expert could never come out of the closet as a sick and fragile victim of the disease. Never.

If Craig could have just asked for help, I believe we all could have prevented this from spiraling down
such a tragic road with many innocent victims.

Gambling is a disease that can be cured or at least managed but the patient needs to ask for help.

By not asking or in this case not being able to ask, it triggered a series of dominos that have destroyed
much in its path.

This is at least how I answer the question why?

Clearly there have not been many "good" days in our relationship in the last year compared to the
previous twenty but there were some. I was thankful when Craig voluntarily checked himself into a
gambling addiction facility for a few weeks in January 2018 in Arizona. This showed me that he now
recognized the root of his problem and was willing to sacrifice precious days of freedom with his family
to begin the healing process for their future benefit. Oh, how I wish he took this step years ago.

Now can good come from a tragedy of bad actions?

Gambling is on the verge of becoming mainstream in the United States especially in the Tri-State area
with New Jersey already in the game. Digital technology will make it more available and appealing.
Advertising and marketing campaigns will flood our eyes and ears with the allure of the big win. For
many it will be a controllable invitation but for others it has the chance to be a destructive call.

But these stories will not be of the celebrity type nor will it garner Carton-esque front page coverage. It
will be everyday citizens who will have to deal with their gambling affliction and the impact on their
families and communities.

As I mentioned many times Craig is a gifted broadcaster who has the talent to communicate and
connect with an audience. His skill provides him with an influence. An influence that up until a year ago
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many companies, including those in the gambling/gaming space, paid a premium to have Craig endorse
their products.

At some point in the future, after Craig has gotten healthy and served his due punishment and is once
again able to pursue his passion for broadcasting, I am certain that those skills will become a leading
cautionary voice for the dangers for uncontrollable gambling.

When Craig talks people listen ... I know he will not squander that opportunity to begin to right his
wrongs. If not for himself, if not for those he hurt by his desperate actions, I know at least for Mickey,
Sonny, Lucky and Anthony.

I appreciate the chance to provide personal context to the matter before this court and thank you for
the opportunity to share my perspective.

Craig's desperate actions were wrong and he needs to make amends to those he hurt and to society.
Then and only then can he begin to write the next chapter of his life as a broadcaster, friend, son,
brother, husband and father.

I pledge to help make this a reality anyway I can and will not abandon Craig as he rehabilitates his
standing in society.

Sincerely,

Christopher Oliviero

Executive Vice President - Programming

CBS Radio (2013-2018)
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Dear Judge McMahon,

On January 4, 2014 I suffered a severe spinal injury playing high school
ice hockey, \vhich left n1e paralyzed from the neck down. Shortly after,
\vhilc still in Kessler Rehab, Craig Carton invited n1y father onto his
show Boomer and Carton. After the show, they exchanged numbers and
told n1v father that I could reach out to Craig ,vhenever I needed hin1, no
      ~                                      ~                         .



n1attcr what. The first phone call I 1nade to Craig, he picked up
itn1nediately and after speaking on the phone a number of hours he
invited 1ne onto his sho\v. Not only did Craig and Boomer let me
participate in the entire show, Craig also promised to have a charity
hockey game involving NHL alun1ni to raise n1oney for 1ny trust as well
as for spinal cord injury research and a\vareness. I an1 proud to say that
this event, organized by Craig, was a success and continues to be to this
day. This year will inark the 5th annual NHL Alumni charity gmne.

Craig is an amazing 1nan who has gone above and beyond for 1ny family
and n1e. Craig gave 1ne his word that this phone number would always
work for n1e and, on multiple occasions, he 1nade hilnself available when
I needed son1eone to talk to. If it wasn't for Craig I don ~t know where
my fan1ily and I would even be. Despite everythingt I will forever be
grateful for Cmig Carton.

Michael Nichols
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Dear Judge McMahon,
    I would like to take a few moments of your time to let you know of the generosity and
compassion Mr. Carton has shown for the members of the New York City Police Department. In
June of 2015, the NYPD saw its third Officer shot and killed in the line of duty in a six month
span. As PBA delegate for the 1st Pct in Tribeca, and the Pct in which Mr. Carton lives and
works, he made contact with me offering anything he can do in such a troubling time in the
departments history. The tremendous shock of losing a young husband, son, and a father to any
family is unbearable. Mr. Carton suggested a celebrity softball game to benefit these officers
families. Mr. Carton has absolutely no affiliation, relationship or responsibility to myself, the
NYPD or these officers and their families. This gesture was a kind act from someone who just
wanted to help three heroes who left us much to soon. A few short months later everything
was a go. Mr. Carton shocked all of the officers participating in the game by getting the New
York Yankees to host the game. Making a dream come true for every officer who dreamed of
one day playing in Yankee Stadium. The night was a huge success! And it all stared with Craig
Carton. The smiles brought to the faces of the families and officers was unforgettable. The
NYPD family will always be grateful for Craig Carton turning a tragedy into a healing.
                                                                   PO Shaun McGill
                                                                   001 Pct, PBA delegate, Training
officer
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The biggest precinct in the city Wednesday night was "The House the Ruth Built." In spite of
chilly conditions, thousands of our brethren • and many more supporters - descended upon
Yankee Stadium to honor the Department and our fallen heroes in a celebrity "True Blue" soft•
ball game.
Officers from the 1. 84 and 105 Precincts, as well as the Detectives' Endowment Association each
squared off in their own 3 inning game against the roster of legendary celebrities that included:
former Yankee Manager Joe Torre, former Yankees Doc Gooden, Bernie Williams and Jeff
Nelson; Jets Head Coach Todd Bowles; Jets Wide Receiver Eric Decker, and St. John's Univer-
sit;i Head Coach Chris Mullin, among many others.
The evening began with a first pitch ceremony involving the families of each of the fallen
officers, who were greeted with thunderous applause from the massive crowd.




                                                               The NYPD played well, securing wins
                                                               in three of the four games, including
                                                               one shutout.

                                                              Throughout the event, many celebrity
                                                              players appeared on the stadium's
                                                              monitors to express their support and
                              appreciation for the hard work we do. Having both his father and
                              brother wear the NYPD uniform, Joe Torre conveyed his first-hand
                              understanding about the sacrifices that members of the NYPD make
                              every day. The crowd was also moved during an intermission by 10·
                              year-old Savannah Solis of Tyler, Texas - who garnered national
                              attention for the dozens of thank-you cards she wrote to our cops in
                              the aftermath of the Liu and Ramos murders."! am honored to speak for
                              my generation," she said. "My goal is to tell as many police officers
                              as I can that I love them."

                              Proceeds from the event will benefit the families of the fallen officers,
                              as well as the NYPD Widow's and Children's Fund.




      An EPIC night memorialized forever
       ;Yankees Stadium! THANK YOU
                                                       3
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                                                JERRY RECCO



                                              Hazlet,NJ-



Honorable Judge Colleen McMahon,



I am writing in reference to Craig Carton, who was convicted on charges of securities fraud, wire fraud
and conspiracy to commit fraud. I have known Mr. Carton since the summer of 2007 and worked with
him on an everyday basis from January 2009 up until his arrest in September of 2017. Over the course
of 8 ½ years we spent every morning at WFAN radio, working closely for five to six hours a day. Over
that time, there was never a moment that he wasn't friendly, giving or selfless.

While he has made some poor choices that have landed him in this current predicament, you must know
that it is NOT in any way, shape or form indicative of the person he is. During his popular radio show
"Boomer & Carton", Craig made a point to ALWAYS help those in need. When an amateur hockey player
by the name of Mikey Nichols suffered a paralyzing injury on the ice, Craig immediately reached out to
the family to try to and come up with a charity event to help them with their medical bills. That charity
event still happens annually!

In the summer of 2015, Craig was the driving force for a charity softball game at Yankees Stadium to
benefit the Silver Shield Foundation and the NYC Police Benevolent Association Widow's and Children's
Fund after the deaths of officers Brian Moore, Rafael Ramos & Wenjian Liu. Craig has a heart of gold
and when people are in need, I have seen him on countless occasions spring to action.

On a more personal note, Mr. Carton was always there for me and my family. Which is not surprising
based on the way he is with his own family. It was mentioned many times during the radio show, that
he had a special relationship with his kids. A relationship that I witnessed many times over. He made a
point to spend a lot of time with his children always reminding us how once the time passes, it's gone.
He spent countless hours on the baseball & football fields with them and many hours on the basketball
courts as well.

Mr. Carton's kids mean so much to him that he created a charity called Tic Toe Stop to help fight
Tourette's Syndrome, something he and his boys suffer from. He would host events to raise money
even if it was at the cost of his own health, often coming to work on very little or no sleep at all. The
health of his children and those suffering from Tourette's was, and is, more important to him than
himself.

In closing. Craig Carton is as good a man as I have ever been around. He has done more for those in
need than most of us will in an entire lifetime and I hope one mistake, albeit a big one, does not cloud
your opinion of who he is.

Respectfully,

Jerry Recco
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Dear judge McMahon,


I will go to the moon and back for Craig Carton.

Craig has changed the world because of his charitable work on behalf of
kids with Tourette Syndrome. Without Craig(!) the research that I
orchestrated would have never occurred, the research would never be
published and children (literally) all over the world would not have the life
that Craig and Craig's generosity provided.

"All over the world" ... that is quite the claim. If asked, I would be happy to
produce emails from parents literally all over the world that viewed the
"Doctors" segment that Craig and I appeared. My follow-up interaction with
the show was after Craig's run-in with the judicial system and yet still(!)
CBS wanted to air what the research had demonstrated because of Craig's
hard work on behalf of TicTocStop and children all over the world. I figure if
CBS is willing to air the results of a multi-center study (which Craig helped
fund through your philanthropic efforts) then I conclude, in a world afraid of
"going out on a limb", that the research, the help, the hope and the results
that we give children and their families must be pretty God darn important.

Although Craig's back is against the wall right now, please know that Craig
and Craig alone changed the world. Craig's love and reverence for the
families, the children of the families and the community of these families
transcends anything that I have ever seen.

Although in the eyes of the law Craig has a debt to repay to society, Craig's
time on earth is better served helping TS families publicly then behind
bars. The divorce rate in Tourette families is almost 90%. The children
with TS are teased, embarrassed and humiliated by their peers. Craig's
efforts on behalf of all the families around the world allowed a guy like me
to conduct research that garnished the first major advance in TS research
in over fifty years. Was it me? Absolutely not ... it was Craig. Let me be
very clear!! It was Craig and Craig's efforts that gave the TS community of
families hope for the first time in decades that their children would not be
relegated to anti-psychotic drugs which turned these little innocent angels
in medicine zombies. Craig's efforts allowed for a non-pharmaceutical,
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non-invasive, reversible solution that would mitigate vocal and motor tics.
No one else in the ENTIRE WORLD could have done what Craig has done.
Craig is an unbelievable person!!! I have attached a copy of the research
below. TicTocStop's name is all over the paper!!! That is because of
CRAIG!!!

I don't know the process from here but Craig behind bars, although
symbolically paying back society, is not serving society. Craig serving a
small prison sentence with probation is a better use of tax payer dollars. In
addition, Craig will continue his efforts to and for the children and families
that need Craig the most ... the TS community.

I will fly to NYC and publicly testify on Craig's behalf. I will spend my
money and use my free time to advocate on Craig's behalf because I know
that the "fight" left inside of Craig for the children with TS still needs to be
waged by their General ... that is Craig!!

Bill

P.S. I love and respect Craig with my whole heart. I will do what ever I can
to help Craig and help the community that Craig's love so very much .... the
TS community.

William Balanoff, DDS, MS, FICD




                       Improved Yale Total Tic Severity Score Due to
                     Craniofacial Manipulation With an Oral Appliance

Timothy L. Hottel, DDS; Robin L. Jack, MD; Elliott Taynor, DDS; Martha Wells, DDS;
Wainscott Hollis, DDS; Robert Brandt, DDS; Stefan A. Hottel; and William L. Balanoff,
DDS

ABSTRACT
Background: This study evaluated a novel treatment approach using the concept of cranial facial
manipulation with an oral appliance, the TicTocStop Tic Guard (TTSTG), also known as the Tic
Guard, to determine its safety and efficacy in the treatment of Tourette syndrome (TS) and
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chronic tic disorders (CTDs). Methods: A two-center study was undertaken at the University of
Tennessee Health Science Center and a facility on Long Island, New York. A total of 77 subjects
enrolled between the centers upon referral from local neurologists and via Internet enrollment;
67 subjects started the study, and 58 completed the study. A licensed Cognitive Behavioral
Intervention for Tics (CBIT) determined the subjects' Yale Total Tic Severity Score (YTTSS) for
tics at enrollment, after I-week sham appliance, after I-week Tic Guard, and after IO-weeks Tic
Guard. Results: The results showed statistically significant improvement in the YTTSS with
both the sham appliance and the Tic Guard with more robust improvement with the Tic Guard.
The sham appliance resulted in a 25% overall reduction in tic severity, while the Tic Guard
resulted in a 39% overall reduction in tic severity. There were no serious adverse events reported
with either device. Conclusions: This study demonstrated significant reduction in YTTSS using
the Tic Guard with no reported serious adverse events. As a result, this device could be
considered for inclusion in treatment modalities offered to patients with TS/CTD.




Once considered rare, Tourette syndrome (TS) and chronic tic disorders (CTDs) are increasingly
recognized among school-aged children. These conditions are characterized by the presence of
involuntary and repetitive vocalization and/or movement, known as tics, the onset of which can
be spontaneous or may be preceded by premonitory urge. TS is defined by the presence of
multiple motor tics and at least one vocal tic present for more than I year. 1 CTDs include motor
tics or vocal tics (but not both) present for more than I year. Common motor tics involve muscles
of the face, neck, and shoulders, while all vocal tics involve the oral and pharyngeal structures.
With poor or inadequate management of the symptoms of TS, patients often are socially isolated
and emotionally distressed and may have difficulty in school or maintaining employment. Some
experience physical pain from intense complex tics. This syndrome currently has no cure, and
the etiology remains unclear. Current estimates are that one out of 160 children or 0.6% between
the ages of 5 and 17 in the United States have TS. 1

Methods
Participants
This study was conducted at two investigation sites: the University of Tennessee Health Science
Center, Memphis, and a facility on Long Island, New York. Patients were assessed for eligibility
at the two centers upon referral from local neurologists and via Internet enrollment.
Patient eligibility criteria was as follows: (1) aged 7-45 years old and previously diagnosed with
TS or CTD by a licensed medical doctor; (2) experienced tic severity of moderate to severe as
measured by Yale Total Tic Severity Score (YTTSS), total score greater than 19 for those
diagnosed with TS, and greater than 12 for those diagnosed with CTD; children with motor or
vocal tics only; (3) fluent in English to participate in consent and assessment procedures; (4)
patients with associated behaviors such as obsessive compulsive disorder (OCD), attention
deficit hyperactivity disorder, anxiety, and/or depression were eligible unless the condition
required immediate medical treatment or change in current medication; (5) participants receiving
medications for tics were eligible if the dose was stable with no planned changes; (6) able to
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tolerate the oral orthotic; (7) agreed to follow-up care as advised; (8) IQ estimate of 70 or higher;
(9) agreed to being subject to videotaping and other recording devices; and (10) patients and
guardians agreed to allow the patient's medical and dental records to be made available for
review.
Exclusion criteria included: ( 1) significant other medical, psychological, or neurological disease
or disorders that could interfere with study assessments and/or wearing the oral orthotic device;
(2) oral hygiene, loose teeth, or dental health concerns/issues that would miss-fit the device; not
cleared by a dentist; (3) planned change of medications; patient not stable on medications; (4)
did not consent to videotaping; or (5) did not want his/her medical or dental records made
available for review.
Patients were removed from the study due to: (1) failure to show for appointments; (2) failure to
wear the appliance; (3) change in medication during the course of treatment; or (4)
commencement of orthodontic treatment.

Standard Protocols, Approvals, Registrations, and Patient Consents
Approval was granted through the University of Tennessee Institutional Review Board, and the
study was registered at ClinicalTrials.gov, ID NCT02599519. Patients who met all inclusion and
exclusion criteria reviewed the study's written consent form. Parents or legal guardians reviewed
and signed the informed consent for patients under 18 years of age. Patients enrolled were
assigned subject identifiers.

Study Design and Procedures
The TicTocStop Tic Guard (TTSTG), or Tic Guard, was evaluated in a single pivotal 12-week
clinical trial. The study was designed with a 12-week interval to avoid the disruption of skeletal
growth and in anticipation of any tooth loss, which could require adjustments to be made to the
Tic Guard. A placebo device (standard mouthguard orthotic) was worn for 1 week, followed by
the wearing of the Tic Guard for 1 week. The I-week period using each device was selected
based on unpublished pilot study data that demonstrated the short amount of time required to
observe improvement in the number and/or severity of the subjects' tics. The 1-week sham/
placebo run-in period established the placebo effect or efficacy observed in patients wearing a
standard mouthguard. An additional 10-week period of the active Tic Guard orthotic followed
this to assess patient compliance; identify safety issues such as headaches, migraines,
temporomandibular joint (TMJ) symptoms, oral sore spots, and appliance breakdown; and track
the reduction of tics over an extended period of use. After the IO-week active appliance trial, the
subjects attended their final tic assessment.
For each study subject, a baseline evaluation was completed in a private room that included the
YTTSS administered by trained CBIT (licensed Cognitive Behavioral Intervention for Tics). The
personnel recording the YTTSS observations remained unchanged at both clinical sites
throughout the study. Additionally, sessions were videotaped for further objective documentation
of the subjects' YTTSS scoring. Subjects underwent a cone-beam computed tomography (CBCT)
radiograph to demonstrate and view the lower two-thirds of the head from infraorbital rim to
inferior of the mandible. A boarded dental radiologist assessed the radio graphs and established
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the skeletal relationship of each subject. Patients were then scheduled for their Tic Guard custom
dental appliance.
Follow-up visits occurred at I-week post sham insertion to evaluate the effect of the sham and
place the active device, followed by an additional I-week visit to check the active device for fit
and possible oral irritation. Then a I 0-week follow-up with the active appliance took place. At
each visit, the following was performed: oral examination to assess oral and dental health with
and without the orthotic; YTTSS to assess tics with the orthotic device; reporting of
unanticipated problems; reporting of any change in current prescribed medications; and
scheduling of the next visit. Each assessment was videotaped. At the final visit, as a benefit for
participating in the study, the subject was allowed to keep the oral orthotic if he/she chose to do
so.
At each visit in which the YTTSS was taken, patients discussed with the assessor how often they
wore the sham comparator or Tic Guard device. Because the device is worn only when the
patient wants to control the urge to tic and not 24 hours a day, patients were not required to
maintain a log.

Outcome
The primary endpoint of the pivotal study was assessment of changes in the YTTSS. The YTTSS
is a clinical rating instrument designed for use in studies of TS and other tic disorders. 2 The
questionnaire is designed to identify symptoms of motor and phonic tics, severity, and age of
onset; assess OCD symptoms, severity, and age of onset; and identify environmental effects on
symptoms. The reliability and validity of the Yale Global Tic Severity Scale, including the
YTTSS portion of the scale, have been previously established in adults and children.3 The
primary endpoint was measured at screening, end of the placebo I-week run-in period, and after
weeks I and 11 where the patient wore the Tic Guard. In addition to evaluating tic severity and
frequency, the appliance was evaluated for safety, including subject's health and the durability of
the appliance. The study design threshold was a 27% decrease in overall tics. The 27% reduction
in tics was chosen because it was considered clinically meaningful to the patient.
Each of the separate dimensions (motor and vocal) were secondary measurements of efficacy.
The major secondary endpoint was safety and efficacy changes in the YTTSS for the Tic Guard
at week II.

Sham Comparator: Occlusal Bite Guard
The occlusal bite guard oral appliance used as a sham comparator has a lower vertical dimension
than the Tic Guard. The occlusal bite guard was used to demonstrate that an oral appliance (such
as a night/occlusal guard) would not elicit enough of a clinically significant improvement (pre-
specified to be >27% when measured on the YTTSS) in tic severity or frequency to make the
clinical claim that a sensory "trick" is occurring in the subject's mouth and that a specific vertical
dimension of the Tic Guard is what has made the difference. The tics were measured using the
YTTSS. A tic measurement with the occlusal bite guard was made at initial insertion of the
appliance on the second visit and again at the I -week follow-up, prior to inserting the Tic Guard.

Investigational Appliance: Tic Guard
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The Tic Guard is an oral appliance made to a specific vertical dimension. The appliance opens
the vertical dimension between the upper and lower jaw. The height is determined by adjusting
the vertical dimension in 1-mm increments. After the increase in vertical dimension is attained,
the tic severity and frequency is assessed. Once a vertical dimension is established that reaches a
threshold of maximum medical improvement, a bite registration is taken using fast set
polyvinylsiloxane and the definitive appliance is fabricated.

Statistical Analysis
Analyses were conducted using SAS for Windows version 9.3 or later. Data was summarized
using descriptive statistics. For continuous measures, this included number (n), mean, standard
deviation (SD), median, and range (minimum and maximum). For categorical measures, counts
and percentages were provided. All statistical tests were conducted at a = 0.05 with two-sided
significance level. The first day of placebo run-in was considered as Day 1, and the day prior to
placebo run-in was Day -1. Summaries were based on the database visits, regardless of the
relative day of the visit.
The primary parameters were the YTTSS (range Oto 50), defined as the sum of the Motor Tic
Severity Score (range Oto 25) and the Vocal Tic Severity Score (range Oto 25). Each separate
dimension (motor and vocal) was a secondary parameter. Adverse events and device deficiencies
also were collected.
The null hypothesis was that a placebo orthotic and the Tic Guard orthotic are not different in
mitigating the severity and frequency of tics associated with medically diagnosed TS and CTD
when measured using the YTTSS. The parameters of the design dictating the recommended
sample size of 65 patients were based upon the following measurements: significance level: 0.05;
SD: 0.5; power number: 0.80; minimal detectable difference: 0.27; dropout rate: 14%.

Results
A total of 77 subjects enrolled in the study, 67 (87%) started the study, and 58 (75%) completed
the study. Nine (13.4%) subjects discontinued from the study. Ten of the 77 patients never
received or wore the standard mouth guard or the Tic Guard. The reason for discontinuation was
that the subjects were lost to follow-up (ie, did not return for Visit 2 or the Follow-up Visit).
The mean (SD) age of subjects was 15.5 (8.56) years. The majority of subjects were male
(74.6%) and white (94%). The average (SD) age when motor tics and vocal tics first occurred
was 6.9 (3.12) years and 8 (3.48) years, respectively. The average (SD) age when worst motor
tics and vocal tics first occurred was 11.4 (6.57) years and 11.2 ( 5 .49) years, respectively. A total
of 36 (53.7%) subjects used concomitant medications.
At Visit 2, subjects received their placebo/sham orthotic and started the placebo run-in period.
During this I-week period, the mean (SD) change from screening in the total tic severity score
was -5.6 (8.55). This change represented a mean percentage change of -16.5% (23.71 %) from the
screening score (Table 1).
By Week 3, a statistically significant mean (SD) decrease was observed in the total tic severity
score: -6.6 (7.75), P < .001. This change represented a mean (SD) percentage decrease from
baseline of 22.1 % (44.03%) (Table 2). By Week 3, a statistically significant mean (SD) decrease
was observed in the total motor severity score: 6.6 (7.75), P < .001. This change represented a
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mean (SD) percentage decrease from baseline of 22.1 % (44.03%) (Table 3). By Week 3, a
statistically significant mean (SD) decrease was observed in the total vocal severity score: 3.6
(5.05), P < .001. This change represented a mean (SD) percentage decrease from baseline of
23.9% (31.54%) (Table 4).
By Week 11, a statistically significant mean (SD) decrease was observed in the total tic severity
score: -9.9 (8.13), P < .001. This change represented a mean (SD) percentage decrease from
baseline of 35.9% (38.70%). This also represented a median (SD) change of 38.8% from baseline
(Table 5). By Week 11, a statistically significant mean (SD) decrease was observed in the total
motor score: -5.1 (5.07), P < .001. This change represented a mean (SD) percentage decrease
from baseline of 34.3% (31.47%) (Table 6).
By Week 11, a statistically significant mean (SD) decrease was observed in the total vocal score:
-4.8 (5.43), P < .001. This change represented a mean (SD) percentage decrease from baseline of
49.1 % (39%) (Table 7).

Discussion
Several treatment options for tics associated with TS and CTD exist, including prescription
drugs, CBIT, 4 and deep brain stimulation (DBS). 5 DBS has not been cleared by the US Food and
Drug Administration for the treatment of TS, and it has had some setbacks with regard to CTD
because of the surgical protocol. The three most commonly prescribed drugs for TS and CTD are
medications that are commonly used to treat other maladies: clonidine (high blood pressure),
topiramate (anti-seizure/anti-convulsant), and pimozide (anti-psychotic). Unfortunately, these
drugs can have severe adverse side effects, and most child neurologists try to avoid
pharmacologic treatments unless tics are significantly interfering with the child's academic or
social functioning or causing physical pain. Non-pharmacologic therapies, such as CBIT, have
advanced the treatment and understanding of TS/CTD and provided patients a means of control
over tics without exposure to medication side effects.
Sutcher and colleagues were the first to describe the use of an oral appliance for the treatment of
movement disorders, 6 and anecdotal clinical reports describe the elimination of tics associated
with TS by changing the vertical dimension or relationship of a patient's maxilla and mandible.
The orthotic oral appliance's mechanism of action for decreasing tics is likely through its effects
on the gross and neuroanatomy of the TMJ. The TMJ is the general area where the mandible
connects to the temporal bone of the skull via a series of tendons, ligaments, and muscles. The
auriculotemporal nerve is the main sensory nerve supply to the TMJ, with contributions from the
masseteric and deep temporal nerves that come off the mandibular nerve at the same level as the
auriculotemporal nerve. Most of the nerve endings are contained in the loose vascular connective
tissue located posterior to the TMJ disc called the retrodiscal pad. There are three types of nerve
receptors in the TMJ: un-encapsulated or Ruffini endings, encapsulated or Pacinian corpuscles,
and free nerve endings. 7 The collective role of these receptors is perception of pain and joint
position, and the proprioception sensory fibers are critical to the mechanism of action of the
appliance study. Thus, the action of separating the posterior opposing teeth (typically in excess of
4 mm to 5 mm) causes the condyle to rotate within the condylar fossa of the TMJ and translate
down the articulate eminence of the temporal bone. Opening the bite in this way creates
neurostimulation of the sensory fibers of the joint capsule to create a shutoff mechanism in the
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brain to prevent the motor nerves from leaving the brain to fire. The signal received by the brain
via the Vth cranial nerve reduces or eliminates the motor signal from the brain to the III, IV, V,
VI, VII, IX, and XI cranial nerves.
The development of a non-invasive, minimal side-effect device that is proven to effectively
eliminate or minimize tics would greatly benefit patients with TS and CTD. The present research
details the results from a clinical study evaluating the effectiveness of the oral orthotic device,
the TicTocStop Tic Guard, developed by TicTocStop, Inc, against a sham/placebo device. The
authors monitored the patients' dental/oral health, measured their baseline symptoms, and
compared these findings after use of the oral orthotic device and sham. The objective of this
study was to: (1) evaluate the safety of a custom-fitted oral orthotic device in patients with TS or
CTD, and (2) evaluate and demonstrate the efficacy of an oral orthotic device to decrease motor
and vocal tic severity in patients with TS or CTD.
This study assessed the effectiveness of the Tic Guard in mitigating motor and vocal tics in
children and adults with TS and CTD. The results shown here describe a statistically significant
improvement in the YTTSS with both the sham appliance and the Tic Guard with more robust
improvement with the Tic Guard. The sham appliance resulted in a 25% overall reduction in tic
severity and frequency while the Tic Guard resulted in a 39% overall reduction in tic severity and
frequency. No serious adverse events were reported with either device. Because this study
demonstrated significant reduction in YTTSS using the Tic Guard with no reported serious
adverse events, this device could be added to the treatment modalities offered to patients with
TS/CTD.
Safety was assessed by adverse events and device deficiencies at each appointment. Patients
were evaluated for adverse events such as headaches, migraines, TMJ symptoms, oral sore spots,
appliance break down, and device defects. Adverse events were limited to two reports of the
patient reporting the mouth was uncomfortable to open while wearing the orthotic devices.
The study does not answer "why" the Tic Guard works to reduce motor and vocal tics in children
and adults with TS and CTD, and this still remains an area of active investigation. The
information obtained from the radiographs will give the authors insight into the skeletal
relationship of the mandible to the cranium.

Conclusion
This study clearly demonstrated that tics in all test subjects were mitigated by optimizing the
opening of the vertical dimension. Understanding where the condyle is in relationship to the
articulate eminence and fossa will provide guidance as to "why" this works effectively. The long-
term implications outpace this study design. Perhaps a treatment modality would be craniofacial
surgery to correct a maxilla/mandibular discrepancy. Possibly, interceptive orthodontics might be
appropriate on patients with a family history of TS and a propensity toward a class II occlusion;
this would be a patient population that would require early screening and treatment.


DISCLOSURES
This work was supported through a grant funded by TicTocStop, Inc, New York, New York,
Non-Profit 501C3. Dr. Balanoff is chief medical officer of the funding agency for this research
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but had no part in the clinical patient treatment or collection of data. The authors report no other
conflicts.


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TABLES

Table 1. Change From Screening to Visit 2 (Placebo Run-in Period) in YTTSS Total Tic Severity
Score

                                           Parameter Timepoint

                         TTSS             Baselines         Change From         % Change From
                         Screening                           Screening           Screeningc

n                         67                 67                   67                 67
Mean (SD)       33.3 (7.87)             27.7 (10.35)         -5.6 (8.55)       -16.5 (23.71)
Median             33                       28                   -3.0                -8.3
Minimum, Maximum 14,50                     6,48                 -33, 6              -85, 16
95% Clb                                                      (-7.6, -3.5)       (-22.3, -10.7)
PValueb                                                        <.001                 <.001

CI = confidence interval; n = number; SD = standard deviation; TTSS = total tic severity score; YTTSS =
Yale Total Tic Severity Score

a= baseline defined as the end of the 1-week placebo run-in period
b = from one-sample t-test
c = if a subject has a score of 0 at baseline, the percent change is missing


Table 2. Change From Baseline to Week 1 in YTTSS Total Tic Severity Score

                                           Parameter Timepoint

                         TTSS             Weeki            Change From         % Change From
                        Baselines                            Baseline            Baselinec

n                          67                67                   67                  67
Mean (SD)       27.7 (10.35)             21.1 (10.65)        -6.6 (7.75)       -22. l (44.03)
Median             28                       22                   -7.0                 -25.8
Minimum, Maximum 6,48                      0,41                 -27, 15             -100, 233
95% Clb                                                      (-8.5, -4.7)       (-32.8, -11.3)
PValueb                                                        <.001                 <.001

CI = confidence interval; n = number; SD = standard deviation; TTSS = total tic severity score; YTTSS =
Yale Total Tic Severity Score

a= baseline defined as the end of the 1-week placebo run-in period
b = from one-sample t-test
c = if a subject has a score of 0 at baseline, the percent change is missing
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Table 3. Change From Baseline to Week 1 in YTTSS Total Motor Severity Score

                                           Parameter Timepoint

                         TMSS              Week 1           Change From        % Change From
                        Baselinea                             Baseline           Baselinec

n                   67                       67                   67                  67
Mean (SD)       27.7 (10.35)              21.1 ( 10.65)      -6.6 (7.75)       -22.1 (44.03)
Median             28                        22                  -7.0                -25.8
Minimum, Maximum 6,48                       0,41                -27, 15             -100,233
95% Cib                                                      (-8.5, -4.7)       (-32.8, -11.3)
PValueb                                                        <.001                 <.001

CI = confidence interval; n = number; SD = standard deviation; TMSS = total motor severity score;
YTTSS = Yale Total Tic Severity Score

a= baseline defined as the end of the 1-week placebo run-in period
b = from one-sample t-test
c = if a subject has a score of 0 at baseline, the percent change is missing



Table 4. Change From Baseline to Week 1 in YTTSS Total Vocal Severity Score

                                           Parameter Timepoint

                         TVSS             Week 1            Change From         % Change From
                        Baselinea                             Baseline            Baselinec

n                   67                      67                    67                 64
Mean (SD)       16.2 (5.59)             12.6 (5.84)          -3.6 (5.05)       -23.9 (31.54)
Median             16                        13                  -4.0                -21.9
Minimum, Maximum 0,25                      0,25                 -20, 10             -100, 58
95% CJb                                                      (-4.8, -2.4)       (-31.8, -16.0)
PValueb                                                        <.001                 < .001

CI = confidence interval; n = number; SD = standard deviation; TVSS = total vocal severity score;
YTTSS = Yale Total Tic Severity Score

a= baseline defined as the end of the I-week placebo run-in period
b = from one-sample t-test
c = if a subject has a score of 0 at baseline, the percent change is missing
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Table 5. Change From Baseline to Week 11 in YTTSS Total Tic Severity Score

                                           Parameter Timepoint

                         TTSS             Week 11           Change From        % Change From
                        Baselinea                            Baseline            Baselinec

n                           58                58                  58                 58
Mean (SD)       27.4 (10.36)               17.5 (10.07)      -9.9 (8.13)       -35.9 (38.70)
Median             29                         17                 -10.0                -38.8
Minimum, Maximum 6,45                       0, 50               -25, 18             -100, 156
95% Clb                                                      (-12.0, -7.8)      (-46.1, -25.7)
PValueb                                                        <.001                 <.001

CI= confidence interval; n = number; SD= standard deviation; TTSS = total tic severity score; YTTSS =
Yale Total Tic Severity Score

a= baseline defined as the end of the 1-week placebo run-in period
b = from one-sample !-test
c = if a subject has a score of O at baseline, the percent change is missing



Table 6. Change From Baseline to Week 11 in YTTSS Total Motor Severity Score

                                           Parameter Timepoint

                         TMSS             Week 11           Change From        % Change From
                        Baselinea                            Baseline            Baselinec

n                   58                        58                  58                 55
Mean (SD)       15.9 (5.64)               10.8 (5.47)         -5.1 (5.07)         -34.3 (31.47)
Median             16                        11                  -5.5                -33.3
Minimum, Maximum 0,25                       0,25                -16, 10             -100, 67
95% Clb                                                      (-6.4, -3.8)       (-42.8, -25.8)
PValueb                                                        <.001                 <.001

CI = confidence interval; n = number; SD = standard deviation; TMSS = total motor severity score;
YTTSS = Yale Total Tic Severity Score

a= baseline defined as the end of the 1-week placebo run-in period
b = from one-sample t-test
c = if a subject has a score of 0 at baseline, the percent change is missing
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Table 7. Change From Baseline to Week 11 in YTTSS Total Vocal Severity Score

                                           Parameter Timepoint

                         TVSS             Week 11          Change From         % Change from
                        Baselinea                           Baseline             Baselinec

n                          58                 58                 58                  48
Mean (SD)        11.5 (6.79)             6.7 (6.48)          -4.8 (5.43)        -49.1 (39.00)
Median              12                       8                   -5.0              -40.9
Minimum, Maximum    0,23                    0,25                -17, 14            -100, 47
95% Clb                                                      (-6.2, -3.4)      (-60.4, -37.8)
PValueb                                                        <.001              <.001

CI = confidence interval; n = number; SD = standard deviation; TVSS = total motor severity score;
YTTSS = Yale Total Tic Severity Score

a = baseline defined as the end of the I -week placebo run-in period
b = from one-sample t-test
c = if a subject has a score of 0 at baseline, the percent change is missing
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        Exhibit
                D-23
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                               MAYOR NOAM BRAMSON
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                                                             January 25, 2019


Hon. Colleen McMahon
500 Pearl Street
New York, NY 10017

Dear Judge McMahon:

I have known Craig Carton since we were kindergartners together at Roosevelt Elementary
School in New Rochelle. While I will spare your Honor a full accounting of play dates, parties,
bar mitzvahs, classes, study sessions, and afterschool activities in which our lives intersected,
suffice to say that by the time of our high school graduation, Craig and I knew each other well.

From a young age, Craig's talents were evident: his quick and irreverent wit, his wry
observations, his encyclopedic knowledge. And although outwardly he expressed a brash
confidence, there was also a quieter, shyer, more reflective inner self.

In the years since our graduation, we saw each other much less frequently, but it was a consistent
pleasure - and a source of vicarious pride - to observe Craig's progressively greater success in
broadcasting and to see his talents in full bloom.

Moreover, Craig never forgot where he came from, organizing celebrity ballgames in his
hometown, making frequent reference to New Rochelle on the air, and otherwise giving his
former neighbors an enduring sense of personal connection. For classmates, the connection was
especially strong, with Craig typically serving as topic A at reunions.

As much as we admired Craig's success, we also admired his philanthropic activities, his
commitment to family, and his loyalty to friends. That reflective inner self seemed intact,
shielded somehow from the perils of celebrity.

Admirable conduct in one sphere of life does not, of course, excuse wrongful conduct in another,
and I am in no position to address the serious legal matters before the Court. My purpose in
writing is simply to provide personal impressions of Craig, as I have known him, so that your
Honor may have the benefit of considering the most complete possible picture.

                                                             Respectfully submitted,




                                                             Noam Bramson



                               • NEW ROCHELlE, NY .
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To: Judge Colleen McMahon

RE: Craig Carton



Judge McMahon,

It is with a heavy heart that I write you this letter on behalf of my close friend Craig Carton. Please
understand that I speak of the real Craig Carton and not the fictional character on the radio, for at this
point in my life, Craig (and his family) are my family, I have known them long enough, long before any of
the events that have unfolded begun. I speak of the Craig Carton that is Kim’s wife and Mickey, Sonny,
Lucky, and Anthony’s father. An incredible husband and father. Anyone who thinks that the real Craig
Carton is the one they listened to on morning radio every day from 6am-10am is sorely mistaken. Over
10 years of close friendship, where I watched our kids grow up together like siblings, lends justifiable
credibility when I say that I know the real man. In real time Craig Carton is neither boisterous nor
controversial. In real time Craig Carton is a reserved man, not wanting to always be the center of
attention, just as apt to entertain with a magic trick or a funny story. In real time Craig Carton is genuine
in his affection for his wife, kids, family and close friends. In real time these are his entourage. The Craig
Carton I know gets the most satisfaction when he sees that everyone is at ease and enjoying themselves,
taking in the simple joys of life that are good times with family and good friends. The Craig I know has
always been generous with his time, even when his status grew and he eventually moved from PA to NY.
The Craig Carton I know has overcome so much from his childhood, including the Tourette’s syndrome
that he still battles and some awful and barbaric family prescribed treatments to “cure” him of it, only to
become the incredible father and husband and friend that he has always been since we met. Please
know with all due respect that I understand Craig has to be responsible for his actions and I sympathize
with all those involved, but I am so devastated for him, his wife and the kids. I know the thought of
being away from them is completely and undeniably devastating to him.

Craig and I first met on the tee ball field in suburban PA, eventually he and I became the dads in the
neighborhood who coached the kids, at everything. He loved it, lived for it and made sure that he fit it
in with his shuffling back and forth to NYC, always there and always making sure the kids understood
that as much as playing by the rules and competing were important, just as equally important was being
a kid and having fun. And he meant it, never wanting to see any player dispirited, always making sure
everyone felt good about themselves. Always protecting the kids when he felt others were piling on.
Craig is a kid at heart and will always be, one I think, looking for that feeling of appreciation that was
missing from his own childhood. With five kids between us at the time, Saturdays and Sundays were
spent going sport to sport, it was pure joy to him then and continues to be now. As our friendship grew
over the years I always found it amazing that here was a guy whose family was the center of his whole
universe, despite the fact that he did not grow up with the love and support that he constantly gave. He
didn’t let how he grew up affect how he raised his children. Easier said than done. He is a second father
to my kids, treating them as his own, finding joy in their successes and sadness in their failures, passing
on wise advice, making sure our families stayed together regardless of where we were all living, NEVER
changing, even as his status grew, because the Craig Carton I know is an “everyman,” a man who
worked extremely hard to fulfill his dream of being on NY Sports Talk Radio. The Craig Carton I know is a
true savant at his craft, but was never “handed” anything, starting at the bottom markets of his industry
and finding success by overcoming rejection, hard work, sacrifice, perseverance and talent. The Craig
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Carton I know makes sure to this day that all of our children understand the nothing will come easy and
there is value in hard work and dedication, regardless of the circumstances that have unfolded here.

The Craig Carton that I know is charitable. Craig spent his years on radio creating and hosting sports
related charity events for fallen police officers, firefighters and children with illnesses, always ready to
use his celebrity and network to take up a cause for the everyday person with everyday struggles. Craig,
MJ and Sonny’s ongoing battle with Tourette’s syndrome sparked him to create Tic Toc Stop, a charity
that helped numerous children battling the syndrome. I know it broke Craig’s heart as Mickey and
Sonny grew up and he recognized that he had “passed this on” to them both and he became determined
to find a cure not only for his kids, but all kids suffering from this terrible illness. Craig partnered with a
dentist to create a bite plate that helped many children both reduce and overcome their constant tics. I
had the pleasure of seeing the impact he was making through Tic Toc Stop, I saw the success stories, I
saw the camps, the smiling faces of kids who for one week of the summer were with other kids and
adults just like themselves, not being judged, pure joy on their faces. And there was my friend, where I
expected him to be, in the trenches with the kids, leading, laughing, playing, happy for the family
environment in front of him, happy to see the pure enjoyment on the faces of “his kids.”

Sadly I would be naive if I didn’t say that the Craig Carton I know is sick. He is sick with a gambling
addiction, an addiction whose depths he was able to keep from those around him, as most addicts are
known to do. His addiction has completely compromised his better judgement and placed his entire
family at risk, as addictions are known to do. And while the world is full of individuals with vices, Craig’s
gambling addiction took him down a path that his real friends could never have imagined, leading to a
multitude of irrational decisions that I firmly believe were influenced by the new people he let into his
life, disingenuous people, who ultimately only wanted to prey on his celebrity, generosity and everyman
nature. I firmly believe their grip was calculated and strong but I know full well what Craig has done. I
understand there are consequences for his fraudulent behavior and many undeserving victims. I know
that throwing away everything he worked so hard for and completely devastating his wife and kids is
sentence enough. I know he will lose time with friends and family that he will never get back. I know
punishment is just and deserved. But what I truly know is that the real Craig Carton is a genuine and
generous man, a caring man, not the person I see in front of me these days. And I also truly know that
what my friend really needs is not lengthy time away, but medical help to conquer his addiction. I want
to see him on the road to healing but he absolutely needs professional assistance with his addiction and
sub sequential deteriorating mental health, he cannot continue to be led by it. Addiction or not, Craig
bears responsibility here. I know he is strong enough and determined enough to accept it. Please
understand that there is far more “good” in Craig Carton than what the outside world perceives right
now. I am positive of it. I have seen it.

I thank you for your time.



Regards,

Jarrett Lustig
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                                           New Rochelle High School
                                                Darren Gurney
                                            Social Studies Teacher
                                               265 Clove Road
                                           New Rochelle, NY 10801


                                                                                                 January 21, 2019


To The Honorable Judge Colleen McMahon:

         I was fortunate to grow up and attend New Rochelle High School with Craig Carton. Almost 32 years
later as an educator here, I write to make you more aware of Craig’s sense of community, generosity, and
positive impact on people.
         Like a select number of our alumni from New Rochelle HS, Craig became a highly successful
professional in his field – broadcast journalism. However, unlike the majority of our accomplished graduates,
Craig chose to come back to his roots and help others. His donation to YBNR (Youth Baseball of New
Rochelle), annual softball charity event at our recreation field, and willingness to visit our community to
support people demonstrates Craig’s altruistic nature. As an educator at the school for the past 25 years, I
have not witnessed a large number of distinguished alumni come back to help our community. I am the
chairman of the NRHS Wall of Fame Committee. As a result, I see who is inducted and who makes an effort
to give back to our school and community. Craig is one of only a handful of people who have made generous
contributions of time and resources to New Rochelle.
         From a personal perspective, I witnessed Craig provide a large number of our youth baseball players
with the opportunity to play on a travel baseball team. Craig financed the team and gave these players
tremendous exposure and experiences. A number of these players are currently solid contributors on their
high school baseball teams. Moreover, there is no doubt in my mind that if I asked Craig to help these
players in any way, he would step up to the plate and do so.
         While I am unware of the details, facts, and evidence in the legal case Craig faces, I do know that
Craig is a terrific father. I have seen him parent and coach his children. He is fantastic. Frankly, the first time
I saw him in a role as father, I was envious. I have always contended that you can discover a great deal about
a person’s character by how unselfish and effective he/she is as a parent. Craig embodies this notion.
         As a social studies educator, I urge my students to be active, productive citizens who give back to
society as they leave our school for the “real world”. Craig Carton has done this in spades and made New
Rochelle proud to call him one of our own.

Darren Gurney
Darren Gurney
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Dear Judge McMahon,

My name is Al Dukes and I was the Producer for The Boomer & Carton Show for 10 years and
one day. The very next day is when I got the call from Craig's wife, Kim, that he was not coming
in that day.

We got word at 7: l Sam that morning, during the show, that Craig had been arrested by the FBI.
To say I was shocked would be an understatement. I knew Craig liked to play blackjack and I
saw him win large sums of money. I was not shocked that gambling would be the thing to take
him down, as I know everybody eventually loses in the end. But I was definitely shocked to hear
the FBI was involved.

I was not only a co-worker of Craig's for 10 years, but I consider him a true friend. I remember
one day on the show we were going around the room asking, ' If you were in trouble, and you
needed to call someone to get you and couldn' t tell them why you were in trouble, who would
come help you out without being told the reason why'. I chose Craig. That's the kind of friend he
is to me. If I were in trouble and needed help, he would be there, no questions asked. Even in the
situation he is in today, if I called him he would be there for me.

Following the trial through the newspaper reports, I saw the actions of a desperate man, that
desperately wanted to hit another blackjack winning streak, pay everybody back, and finally be
even with everybody. But I guess that's the thing with gambling, when you go on a winning
streak for years, you eventually go on a long losing streak.

I know Craig as a guy that always looked out for his friends, and his co-workers that didn't have
'pull' at the radio station like he did. He made sure management treated us fairly, even though
we were the guys behind the scenes, and not the 'talent'.

I also know Craig as a caring father to 4 kids. Whenever we did anything fun or exciting, he
always brought his kids along, and they always looked up to him.

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I also know Craig as a guy that started a charity for Tourettes, since he and his children suffer
from it. I have been to many of his charity events, where kids go out of their way to tell him how
Camp Carton made them feel 'normal' for a week. To finally be around other kids with
Tourettes, so they didn't feel like they stood out. They were just being kids for the week.

Based on the trial, I know Craig did wrong, and is being sentenced on February 27th of 2019.

I am hoping he is not punished too severely. To me, he has already been punished. He lost his
career, a career that is almost impossible to achieve. He hurt his wife and 4 children. They will
never be the same after this. His reputation has been severely damaged. He began his
punishment the day he got arrested.

I am hoping that he can go through a program for gambling addiction, then come out on the other
side ready to help those in his same situation. Now that we can gamble on our phones, there are
going to be a lot more people that ruin their lives thanks to gambling. Craig would be a great
motivational speaker to reach people before it's too late. Who had it better than Craig? And he
lost it all.

Please consider that Craig has 4 children at home, ranging in age from 6 to 17. The longer he is
away from them, the more damage it is going to do to them for years to come.

Thank you Judge McMahon


Al Dukes
Executive Producer, Boomer & Gio Show

Entercom I New York
345 Hudson St, 10th Fl
New York, NY 10014
entercom.com I radio.com

WFAN j 1010 WINS I WCBSFM I WCBS 880
ALT 92.3 I NEW 102.7




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Dear Judge McMahon:

My name is Hamilton Baiden and I am the EVP and General Manager of a Healthcare Corporation
based in Dallas, Texas. I am also proud to be a 25 year friend of Craig Carton. Obviously having spent
that many years with someone, you get a sense of what their true character is deep to the core.
Based on the current situation that Craig is in, and the very difficult decision that you have to make
in terms of sentencing, I felt compelled to speak on behalf of my friend.

I met Craig in 1993 when we were both young and single and living in Philadelphia. We moved in
together with our good friend (and Craig’s lifelong friend) Steven Kent and all decided we would
open a bar and restaurant in our “spare” time from our other careers. I spent a considerable amount
of time with Craig every single day for about four and a half years. We remained in touch and
constant contact as we all moved to various parts of the country and continued with successes in
our careers. We talked on a regular basis and saw each other three or four times face to face every
year.

Craig is a great person. To the core. Craig has faults. We all do. The biggest issue I saw with Craig is
that he was never able to look deep into his sole and figure out what those faults were and what to
do about them. But I go back to my first statement…Craig is a great person. In all the years I have
known Craig, I have never once seen him intentionally hurt someone. On the contrary, he has always
gone above and beyond to take care of the less fortunate and really (for that matter) anyone that
needed something….fortunate or not.

Six and a half years ago I finally came to terms with the fact that I was an alcoholic. I jumped on a
plane and flew from my home in Scottsdale to spend 6 weeks in North Carolina for rehab. I probably
had not talked to Craig in a few months before then and I never told him I was going. Three weeks
into treatment I was told I had a visitor coming. Craig had flown from New York to Greenville SC, met
my sister in the airport and she drove him to see me. Always there when anyone would need him.

Craig always had an extremely outgoing personality and the desire to be successful. I am probably
the most competitive person I have ever known and Craig was right up there with me. But I noticed
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that something was a little different. Craig could not really open up about things in a deep and
emotional way. He had an interesting relationship with an impossible to please Father. He also
shared with me many years later in life that he had suffered some serious physical and emotional
trauma when he was a child and he had never dealt with it. But…through all of it he was a loyal and
caring person and full of life.

To be honest I started to notice a change in Craig about four or five years ago. I just figured that
celebrity was going to his head like every other celebrity. But when you talked to him or saw him in
person there was nothing behind the shell. There were no emotional conversations. All small talk…
and small is giving the conversations way too much credit. It was sad to see him this way, and I was
very hurt by the fact that I thought I was losing a good friend.

I firmly believe that everything in life happens for a reason. I 100% feel like the situation that Craig is
in today has saved his life and will make him the best that he could have ever dreamt of becoming. I
do not know all of the details. I do know that he has been accused and convicted of some crimes and
there is a chance he could potentially  go to Federal Prison for some time. I will in no way, shape or
form tell you that I do not think he should be punished. I wish it did not have to be this way because
I love my friend. But…I also understand life and the law. Craig hurt people. Craig actually hurt one
particular person that he and I love very much. What has occurred has taken its toll on a lot of
people…the people he directly hurt, his family, and his friends.

What I would like you to know is that I do not believe for one second that Craig intentionally ever
meant to hurt anyone. Now…I know that last statement is going to be controversial so I think I need
to give more details. I am not saying that he did not intentionally do the things he is convicted of. I
am saying that I 100% believe (and no one will make me feel differently) that he ever thought
anyone would ever get hurt. I know Craig. First of all I would bet he did not know the law. I bet he
thought what he was doing was being crafty or whatever you call it. I think Craig thought he would
borrow some money, fix his “situation” pay everyone back and everyone would be happy. Craig was
always about making sure people were happy.

Now…here is the most interesting part of this whole story. I might not have written this same letter
to you a month ago. I did not know if Craig really grasped the core of what the issue was. As I
mentioned in the beginning of this letter, Craig was never really good at getting deep into his
emotions and tackling the things that could make him better or “heal” himself and allow him to lead
a peaceful life. I was fortunate enough to be able to pick up Craig at the airport in Phoenix back in
the early part of last year. I drove him to a rehab facility near Wickenburg to go to rehabilitation for
Gambling Addiction. I have kept in touch with him over the months through talk and text, but to be
honest, I never thought he really “got it”.

Today is January 31, 2019. It is also Craig’s 50th birthday. I reached out to him to wish him a Happy
Birthday and see how he was doing. A conversation ensued. I can tell you now with 100% certainty
that Craig is a changed man. He “gets” it. He readily admits that he is an addict, he admits that he
has a Gambling Addiction. He has worked through the embarrassment and shame and is ready to
use whatever celebrity he has left to make a difference in other people lives. The Craig I talked to
today was able and willing to look into himself and see what needed to be fixed and is willing to
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continue to work on fixing those things. He was able to communicate. He is now able to admit he
has faults and try to better himself. As bad as things are for him right now today, I have never seen
my friend in a better place than today and I could not be more proud of him. It is obvious that he hit
rock bottom, had his “moment” as we call it in addiction, and did the work to understand and try to
change his life.

The things Craig has done has caused a lot of grief for a lot of people. But…there is also one person
that has also suffered immensely and that is Craig. I am by no means calling him a victim or saying
that his pain is not warranted. But he has gone from a very wealthy man, with a wife and four
beautiful children that loved him, with an audience that thought he was awesome to an individual
who is legally separated from his wife, has alienated some friends, no job, I believe has claimed
bankruptcy and is closing in on having no place to live because of finances and losing his home.

First and foremost I want to thank you for taking the time to read this letter and even consider what
I have to say. I have no idea if my words and feelings will make any impact on your decision or if
there is even leeway one way or the other in terms of his punishment. I know Craig Carton as well as
I know anyone. I know he should be punished but I do not believe sitting in a Federal Prison does
anyone any good. Craig has a gift. He can talk. He can get people passionate about things. Our
country is over-run with addiction. It is in our homes, our government, our companies. People are
ashamed and scared and do not know where to turn. I have had the good fortune since I became a
recovered alcoholic, to help a number of people turn their lives around. It is one of the most
rewarding things you can ever do. Addicts want to know that there are “cool” and successful people
that have struggled with this as well. They want to know that there is a solution and a great life out
there that they have the power to have. I firmly believe that Craig can share his story through the
gift that God has given him and change people’s lives.

As I said in one of the earlier statements above, I believe that everything happens for a reason. I
believe what has occurred has forced Craig into this current state of peace and understanding. And
that is OK. I went to rehab because my wife told me she was going to leave me. It does not matter
how you get there…it matters what you do with it once you go. Craig is finally in a place of peace and
understanding. Not making excuses. He knows he made mistakes. He knows he hurt people. He is
embarrassed, apologetic, and I am sure would do anything to go back in time and change his actions.

I love my friend and I love what he has finally become. Sad it had to happen this way but God works
in mysterious ways. I hope my words help in some small way. I sincerely believe he can use his gift
for good in this world. Thanks you again for your time. I am always available to talk live if that is
appropriate and you have any questions.

Thanks:

Hamilton Baiden

PS…I think it is important for you to know that Craig nor his attorneys asked me to send you a letter
or email. After my long conversation today with him I asked if I could write to you.
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Hamilton Baiden
Executive Vice President and General Manager
Heritage Health Solutions, Inc.
Excellence in Healthcare – Value for America®

www.heritagehealthsolutions.com
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                                               Brooklyn, NY.



January 8, 2018


Dear Judge McMahon,

I am writing to you today on behalf of Craig Carton. My son-is eleven years old and was diagnosed
with Tourette syndrome at the age of six. •experiences vocal and motor tics to varying degrees
daily. Once-received the Tourette diagnosis, I did what many parents do, dove head first into
researching treatment options. One learns very quickly there is no treatment for TS, but rather
suggestions and supports on how to live with the disorder and possible ways to limit tics and their
effects. That is a difficult reality for a parent to accept.


In the spring of 2016, we found out about Camp Carton from a friend who heard about camp when
listening to Craig on his morning radio show. I reached out to the camp staff and was met with an
immediate response of warmth and reassurance. - h a d never been away from home before but he
was adamant that he wanted to go. He said, "I want to see what it's like to be with other kids like me for
once." -went to Cam Carton for the first time in the summer of 2016 and returned for his second
summer this past August.            an otherwise typical eleven year old boy, isn't overwhelmingly
forthcoming with his feelings. When it comes to talking about Camp Carton, he is however, quite vocal.
He is able to articulate that the one week of summer camp with other kids that also have TS, has helped
him in so many ways. Most importantly,.learned there are other kids just like him, that he is not all
alone in his struggle with TS. That knowledge has stayed with- and I believe, helps to sustain him
through difficult times. - a l s o gained much needed independence and self-confidence during his
stays at Camp Carton. I do not think he would've been comfortable to go to a sleep way camp that
wasn't for kids with TS and therefore, Camp Carton provided - a n experience he wouldn't have
otherwise had.


Children with TS often experience social isolation, depression and anxiety. My son battles through those
feelings and remarkably, meets life with an upbeat attitude, strength and determination. That one week
of camp each summer, provides him with a respite from having to work so hard and allows him to just to
be a kid at camp. Craig Carton and the Camp Carton staff created a camp that offers a safe space filled
with typical camp activities and memories to last a life time. Craig himself has even calledllll!l>ver the
years to offer him words of encouragement. I've heard from several families that Craig's visit to Camp
Carton is a highlight for many of the campers and              has echoed that sentiment as well. Craig had
offered on several occasions to v i s i t - school and speak to his class about TS. -eclined as he
didn't want to call attention to himself. However, the offer from Craig was something our family
appreciated very much. My family and I can't thank Craig enough for the opportunities he has given to
Noah and all the other kids who have been to Camp Carton.
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To whom this may concern,

    I am writing this letter on behalf of my friend Craig Carton. And would like to tell you the
things i have experienced being around Craig and his family since i became friends with him
about 4 years ago. The first thing i would like to state about my friend Craig is that i have never
been around a man who is more gracious and caring of other people. He treats everyone with
respect and has one of the kindest hearts i have seen. He is a man that is always trying to help
people. Whether it be his friends or friends of friends he is a man that has always been willing to
go out of his way to help people. In my time with Craig he has always had a soft spot in his heart
for kids or adults who have not been givin a fair shake in life. He has demonstrated this with his
countless hours devoted to charity whether it be his own charities or someone else. Lastly you
can not talk about or describe Craig with out talking about Craig Carton the father and husband.
Plainly stated he would go on my top 5 list of best family men i know. He is a phenomenal father
to his kids and they absolutely adore him and they should because he is a great father. And as far
as a husband goes he is top notch as well. My wife and i have had a lot of laughs with Craig and
his wife Kim over the years. He has always been a thoughtful husband and he treats her with the
utmost respect. In closing I can sit here and say that i have never seen anything but good from
my friend Craig. I value myself as a good person and would not hang out with people who i felt
were mean, disrespectful or took advantage of anyone in any way. I vouch for Craig in every
which way.

       Best Regards
       Chris Simms




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                                                                       January 4, 2018
Dear Judge McMahon,

Hope this letter finds you well. Providing this as a character reference for someone who is
considered a friend but more of an acquaintance, later became a listener to his sports show, who I've
spent considerable time with over the past several years - Mr. Craig Carton.

Was saddened to learn about the allegations against him but can speak to the man who is quite an
open book when you speak with him or listen to his radio show or spend time in person. Willing to
say I've been around him enough to know he passed my test having displayed strong moral fiber, he
is a family man, energetic, hard working, giving of his time, inherently cool and very philanthropic.

Through sports I got to know his family. Devout loving father with outgoing, funny, athletic kids.
His two sons played on the teams with my two.

Met him in 2012 after a very challenging period in my own life (41/2 year custody battle which
played out in the NY courts). It was spring of that year and we learned of a travel soccer team
tryout for my two sons. Met Craig at the first practice and we knew this team was for us ! (I didn't
know he was a sports personality). It lead to an amazing summer of soccer practice, tournaments
and character building. My little guys become more of men. We would often share rides to the
games with him (and his children and usually other team members along with Dunkin Doughnuts)
all around the region and it was during these times of odd hours, in rain, in defeat, with hostile
opposing parents and coaches or 95 degree heat - that he was high energy, but calm spirit, a strong
leader and a teacher (sports & life). He had a strong impact that helped mold my children. He was
open and honest, shared experiences and gave discipline.

Learned about his exciting career path and also became more of a listener to the show. Not only
entertaining, informative and the cause of truly gut wrenching laughter at least once per day - I came
to notice how often he mentored, coached and consoled so many caller's through their own
problems and tough times! Many of these people listened and leaned on him most mornings for
encouragement.

In the fall of that year we played in the flag football league that he organized.   Lastly, learned of
his charity, which he poured so much of his intense effort into. Seeking a cure for a rare disease that
has inflicted his family. We spoke at length about his charity and his efforts to find a cure. Just
liked he boosted our mis-match team of soccer players to make it to elite tournaments - I know he
wants to whip this illness by steering all resources available to beat it.

Hope this letter is well received and useful to the character assessment of Craig. You are
encouraged to contact me at anytime, my mobile phone #:

Regards,


Neil Kleinman




           Neil Kleinman   I                   I Brooklyn, NY I
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Judge Colleen McMahon -

I write to you on behalf of my entire family. My name is Jorge Molina, Craig calls me George and I call
him Mr. Craig, but he always tells me to just call him Craig. I met Mr. Craig 4 years ago when I was
working as a parking lot car parker in Tribeca. Mr. Craig moved into a building that was next to the
outdoor parking lot where I worked. He kept his car there and I parked it every day. I met him one day
and unlike most of the people who parked there he was very nice to me and talked to me. The longer he



               -
lived next door to the lot the more we got to talk. He introduced me to his family and asked about mine.
My oldest son,            is the same age as one of his kids. We talked a lot about our kids and we learned
that both of our sons like to play soccer. Craig invited me to bring my son to meet his and to bring my
whole family to his apartment for dinner one night.

I could not believe it. Nobody had ever been so nice

We went to his apartment and our sons became friends.

Mr. Carton decided it would be great if they could play together so he started a kid soccer team and
invited my son and his friends to play with his son and his friends.

He even created a team for all of my sons friends and paid for everything for them too - like uniforms and
bags and showed them that there was a world outside of their small neighborhoods

As the kids became friends our wives became friends and Mr. Carton started to ask me what my job was
like and if I was happy working there.

I used to work 6 days a week 10 hours a day for minimum wage to support my family. I was not happy
and Mr Carton could see that.

One day he asked me if I had a drivers license and if I wanted to leave the parking lot and work for him.

Again I could not believe it and started to cry -

He paid me more money than I have ever made before and even better than that he introduced me to
everyone as his friend, George, and took me everywhere.

He never made me feel like I worked for him - he made it like i worked with him.

He took me and my entire family on many vacations, we celebrated birthdays together and whenever I
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needed a little extra money for rent or my kids he gave it to me without hesitation.

He changed my families life - He became a part of my family and we became apart of his.

The best four years of my families lives in America were the years I was working with Craig.

I know he did some things that he should not have did but he also did so much good things. He changed
our lives for the better and I cry everyday for him. Since he got in trouble my wife and I have worked
many jobs to continue to provide for my kids and I know Mr. Craig has nothing left and he still offered to
help me when I needed it.

We pray for him every day and we pray that you will not send him to prison - he does not belong in prison
- he belongs back on the radio and back home with his family and we pray that a story like my families
makes you understand who he really is and I am sure there are lots of people who feel the same way.

Thank you Judge

Respectfully,
Jorge Molina
Lina Garcia

Sent from my iPhone
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                                                                     Main Phone: 800 759· 726'/ I 914 •307 7 000
                                      145 Huquenot Street
                                                                     Main Fax: 91 14·365 6·~28
                                      New RoC!,el:t,, NY 10801
                                                                     www.steinersports.com




Honorable Colleen McMahon
United States Courthouse
500 Pearl Street
New York, NY 10007


November 14, 2018


Judge McMahon:

I am writing to urge leniency in the sentencing of my friend Craig Carton.

As you are fully aware, good people often do stupid things, and in the case of Craig, I cannot
argue what he did was not morally and lawfully wrong. That being said, I have known Craig for
over ten years, and in that time I have met very few people who have as big heart as he does.

Craig is the type of person who will drop everything he's doing to help others. I can count
numerous occasions where he would attend non-profit events and work as an MC gratis to help
fundraise for worthy causes. I myself have called upon Craig to assist me with my charitable
events, and he was always there to help me. Everything I have described is above and beyond the
incredible work he has done for the thousands of children and their families suffering from
Tourette syndrome.

I understand you must access the wrongs Craig has committed, but urge you to consider what
good Craig has done for our community. Furthermore, I have a feeling that given the chance, the
good things Craig will continue to do outweigh the bad things he has done.

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Founder & CEO
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  Dear Judge McMahon,
Craig Carton has been a dear friend of mine for over 30 years. I first meet Craig back in college
at Syracuse University were he befriended me at a very difficult time in my life. I was a transfer
student new to a very large campus. I was walking in on a class that had already established
friendships that would last a life time. Craig saw I was struggling and reach out and made my
transition to Syracuse a smooth and enjoyable one.
  We remained very close friends over the next years after school ended. I have seen not only his
career grow, but his life as a friend, husband and father grow as well. I have witnessed first
hand his kindness to less fortunate individuals many times. Many people in his position could
have taken a different path with their celebrity, but not Craig. He has helped so many over the
years most without recognition because that is the way he wanted it. His work with his
foundation and others is endless.
  With all the many generous things he does, by far his best work is with his family. The warm
loving environment he has provided for his four kids is his great gift of all. He is a true role
model to them. He spends all of his free time with them. From coaching their sports teams to
volunteering at school functions. I am a father of four myself so I know how hard it is.
  In closing, I have know Craig for over 30 years and I am proud to call him my friend.

ChrisBeldotti
CEO Beldotti Bakeries LLC
Sent from my iPhone




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I have known Craig Carton for more than 20 years and I am proud to call him a close friend and business
partner. Craig is generous, giving, unselfish, caring, an incredible father, kind, and a family man. It is an
absolute honor to be associated with Craig.

My friendship and admiration for Craig is the main reason I became involved and helped Craig create
Camp Carton, a free one-week summer camp experience for children with Tourette Syndrome. I was the
Executive Director for Camp Carton throughout its existence. This camp is just one example of Craig
giving back to the community and using his celebrity status for the benefit of others. It is his heartfelt
opportunity to give kids who suffer with Tourette Syndrome a rare chance to experience the pure joy of
summer camp, and to be "free to be me", which is the camp's motto. It's difficult to describe just what
Camp Carton has meant to these children.

 Many kids who have Tourette Syndrome are bullied at school and have a difficult time making
friends. With Craig's leadership, guidance, and inspiration at Camp Carton, the Tourette Syndrome kids
develop real friendships - many of them for the first time. These kids have also found a true role model
in Craig, who just like the kids suffers from Tourette Syndrome... but does not allow it to hold him
back. Craig spends personal time with each child and his or her family. At camp, he plays games and
perhaps most importantly, tells them how to not let Tourette's stand in the way of achieving their goals
and dreams. Craig inspires the kids and gives each and every child hope. He is simply, incredible. He has
changed their lives, just ask the kids and their parents.

I could tell story after story about how Craig is there for these kids on a level they have never received
previously. He makes sure the campers and their families understand he is available 24/7 if they ever
need him or just feel isolated, lonely or just need someone to talk to. He gives 100% of himself to them
on top of everything else he has going on in his life. Craig helps these kids feel safe. Craig is an
inspiration to them and one of their heroes.



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I met Craig in the mid-1990s when we both lived in Philadelphia and we have been friends ever
since. This was before his career skyrocketed. He was just a young, eager sports radio broadcaster, who
I could tell had unlimited potential. He was lucky enough to meet a super, special, fantastic woman
connected to a wonderful family, and together they created a beautiful family of their own.

Over the years, Craig has been a good and loyal friend to my family and me. He has proven to be a
stand-up person in my life and someone I have always known that I could count on when needed. Craig
is a good person. I proudly stand by him 200% as someone who gives with his whole heart to great
causes and does the right thing. I have seen it time and time again over the years. I believe in Craig
Carton.




Aimee Skier
AMSkier




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                                        November 14, 2018



Hon. Colleen McMahon:

I am in the unenviable position of trying to describe how Craig Carton, who made the stupid
mistakes for which he was convicted of, was not at all that person that you had in front of you in
your courtroom to me, my wife, or my family in the almost ten years that we knew him.

Craig came to know me because as a writer for the website Bob's Blitz we frequently made fun
of him for his work on WFAN. Emails eventually were exchanged and while we at the Blitz
continued to 'bust his chops' - we developed a friendship. Imprimis, via email. Secondly, over
the phone. Eventually, in person.

That Carton/ Mantz friendship grew into one in which my wife and my father also interacted
with Craig. Invited to WFAN studios to watch the then Boomer & Carton show in June of2011
- Craig ended the show live on air by thanking us for coming in (YouTube has the video
https://www.youtube.com/watch?v=pLc69r0guAc ).

I'm sure you are quite aware of Craig's charity work. Mikey Strong. The NYPD. Tic Toe Stop.
We attended several of his efforts there too. May 15, 2012 Craig opened the New Era Pinstripe
Bowl Charity Golf Tournament in front of various sports celebrities by naming me in his speech
which was great https://www.youtube.com/watch?v=yiqyCnOMwJU - but what you don't see is
Craig, who had met Wendy for all of 15 minutes the year before, entering the Forsgate Country
Club's dining area (filled with 300 people) and walking directly to us ... giving Wendy a kiss. (He
is that kind of guy and we do have that video at home privately.)

Two months later Wendy, my father, and I were guests of Craig's to watch his 'Spike TV MMA
Uncensored' program in NYC. My dad still talks about how it felt like we were all old friends.
Craig introduced us to all the UPC guests and we all took pictures together.

But the absolute best example that I can use to illustrate the guy Craig Carton is to us comes
from later 2014/early 2015. I introduced Craig to a close friend, Rich Toth. Rich had a
technology that would allow parents to watch instant replays of their kids' sporting events
instantaneously.

I brought Rich and his partner to one of Craig's kid's (actually probably several of Craig's
kids ... ) flag football games. They demo'd the technology and Craig really liked it. He sat down
on the sidelines with Rich and I walked away to let them talk. Craig gave rich a serious game
plan and laid out how he would help him get the tech into the hands of the right people. The
people who could help Rich the most and not at a big monetary cost to boot.

I returned to the two of them as Rich was asking, "OK, and what cut do you want for helping us
out?" Craig turned to Rich and said, "I don't want anything. I do it (pointing to me) because of
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my friendship with Bob. And if in five years you make a ton of money and want to give me a
taste, fine. And if you don't want to - that's fine too. Just take care of Bob."

Rich was floored. As was Carton, on air, a few months later when I let him know that Rich Toth
had died. http://www.bobsblitz.com/2015/04/rip-rich-toth.html Craig also was floored in 2014
when I let him know that a young cancer battler, Anthony Crimeni, who once wanted nothing but
to meet Boomer & Carton (he had), had also died. http://www.bobsblitz.com/2016/1 l/craig-
carton-memorialized-anthony.html

The Rich Toth story and Craig Carton's on air reactions to the death of two people he barely
knew but obviously immediately bonded with? That is the Craig Carton we know. The one we
are spiraling internally thinking about today. Please keep this Craig Carton in mind, the real CC,
as you decide what sentence is fair. And please give me a call if you have any additional
questions.

Respectfully,
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Dear Judge McMahon,

My name is Marc Rayfield. For more than 25 years, I served in management roles for CBS
Radio, the last ten as the Senior Vice President/Market Manager for Philadelphia, and then New
York.

During that time, I had the honor of overseeing the most trusted and credible brands in news,
including KYW Newsradio (Philadelphia) l0tOWINS and WCBS 880.

Prior to arriving in New York, I had only met Craig Carton a handful of times through mutual
acquaintances. WFAN, a station also under my supervision, had a reputation for being a tough
place to work, much less manage. And so I began with a critical eye.

If there was a pleasant surprise, it came in the form of Craig Carton. I already knew that he was
an outstanding broadcaster on air. But in the building, he was a fantastic co-worker, a passionate
teammate and a committed partner. He treated people with respect and I simply cannot say that
for everyone.

But where I truly came to respect Craig was away from the building. Our young children became
close friends and it brought us closer together as couples (along with his wife Kim and my wife
Nicole). Craig is a truly outstanding and involved parent. I see that not only in the way his own
children love and look up to him, but in the way my daughters do as well. And I now consider
him a close, personal friend as well.

In terms of philanthropy, I have repeatedly written personal checks to his organization and would
not hesitate to continue doing so. I've attended his fundraising events, met some of the kids who
have benefited from Tic Toe Stop, and serving on numerous non profit boards, including the
Police Athletic League, I feel strongly that Craig's heart has always been in the right place. He
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has shown that time and again, participating in fundraising events (both publicly and privately)
for organizations located throughout the New York metropolitan area.

I am a Craig Carton fan. I didn't know him well before accepting oversight of the NY market for
CBS (right up until the time they sold the division in November, 2017), but I do now. And
recognizing my own responsibility to accurately portray events as I see them during a 25+ year
career in newsradio, I am confident that Craig is worthy of another chance.

Very truly yours,

Marc M. Rayfield




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Dear Judge Colleen McMahon:

Re: Craig Carton

I have known Craig Carton for many years through his involvement with a youth basketball
league hosted at Basketball City. Craig initially reached out to me because he knew that
Basketball City has a tremendous community outreach program that included over 500
scholarships to inner city kids and over 1,200 court hours donated to local schools and youth
organizations. Craig was instrumental in forming the league and growing it each year, allowing
thousands of kids to not only play at Basketball City but learn important life skills such as
teamwork, dedication and commitment.

Additionally, I have seen Craig's efforts for Tourette's Syndrome, firsthand, with his Tic Toe
Stop Foundation. He has raised money for research and summer camp for those inflicted with
Tourette's. Through his efforts, they have made great strides.

Craig is a good person. I have seen the good he has done for the Foundation and for NYC
kids. We are a nation and people who believe in second chances. I know in my heart that there
was no malicious intent in his actions. I believe Craig and his family would be best served if the
court would be lenient on his sentence.

Best,
Bruce Radler
CEO & Founder
Basketball C ity
Pier 36 at 299 South Street



www.pi er36nyc.com

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Dear Judge McMahon,

I hope this email finds you well. I'm writing you, in support of my dear friend Craig Carton. I've known
Craig for over 16 years. I first met Craig when he was with NJ 101.5 FM, in 2002. At that time, I had sent
one of my songs, "Forever Free", out to a number of radio stations, to see who would be interested in
playing the song on their program.

I've written many songs, but this songs was very close to my heart, as if was written for the brave men
and women, who have given their lives for our Freedom . Craig was one of the first radio personalities, to
not only play the song, but he invited me into the studio to perform the song live on the air, for his
listeners. My performance was not to further my own career, or to help boost ratings, it's purpose was to
reach the families of those who had lost someone, while serving our county. It was easy to see that Craig
was, and remains, a huge supporter of our troops, to the point of being moved to tears. We were instantly
connected, and have remained great friends since.

That was only the beginning of our friendship. Over the years, I was a frequent guest on NJ 101.5, and
have since been a regular guest on WFAN, performing on the air with Boomer & Carton for over 10 years.
As you may know, Craig's foundation "Tic Toe Stop", which raises awareness for Tourette Syndrome, is
something that is near and dear to his heart, as it is to mine. Over the years, I performed at several "Tic
T oc Stop" events, and even penned a song called "One Tic" with Craig.

If I ever needed anything, Craig was there. If he ever needed anything, I was there. This was, and still is
the dynamic of our relationship. I not only consider Craig a dear friend, but he, his wife and children are
family. Throughout our time together, I've had the opportunity to get to know Craig the radio personality,
husband, father, friend and supporter of so many great causes.

There are so many words to describe Craig. A few that come to mind are; honest, caring, giving, dynamic,
funny, and intelligent . If I had to choose someone to stand for me, and be in my corner, it would be Craig
Carton.


Respectfully,

Bob Polding




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My name is Tom Wallace Jr. Ten years ago I was fortunate enough to meet Craig.

Growing up I always wanted to be a cartoonist. Is draw and pint for fun, hoping to be have a comic in a newspaper
someday.

Ten or so years ago, I became unemployed for the first time ever. A bit scary. While trying to figure out myself and what to
do, is always make it a point to listen to the Boomer and Carton Radio show.

And as a fan of the Boomer and Carton Radio Program, I decided to create and send in comics of Craig and the stars of
their WFAN morning show.

This helped create a friendly exchange between Craig and myself. Not too long after, Craig offered me the chance to
illustrate for his book, “Loudmouth.” Craig didn’t have to do this, but he helped me reach a personal goal of showcasing
my artwork.

Craig did not have to do offer this opportunity to me, but he did. Craig understood people and their dreams. He gave me a
chance to fulfill that dream, and I am forever grateful. Amazing for me, Craig Carton came into my life at a time that I
needed help the most.

Thank you.

Tom Wallace

Sent from my iPhone 😃




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Dear Judge McMahon,
Let me try and shed a bit of light on the Craig Carton that I know and love.

I have known Craig and his wonderful family only about 3 years. We are in the clothing
business. My daughter who works for the company, was a college graduate living in the big city.
Not easy for parents who live in LA . Alex sold sweaters to the Cartons boutique in TriBeCa.

Craig and his wife, Kimmy, wanted my daughter, Alex to meet their cousin Brian. Turned out to
be true love, a wedding last year and baby due in just a few months. So ...how do I describe the
man and family that found my daughter her true love?

Craig is is certainly an interesting guy. He may have been defined by his disease, Tourette
Syndrome. We hear about idiot savants. Those rare people with autism, and whose brain
struggles and finds some path to genius. Craig is the Tourette version of an idiot savant.

He is always moving. He had a job that had him waking up at 3:00 am ... But managed to raise
the cutest 4 kids I have ever seen in my life. With his busy radio show, the top in the industry, he
always had time for family and friends, and the Tic Top Stop foundation. often at the expense of
sleep.

We always donated and took part of all of the Tic Top Stop events. Craig's larger than life
personality, seemed to make this an important organization to those children with Tourette's.
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I have always known Craig and embraced his radio persona. His reputation is that of a
loudmouth, which happened to be the title of his book. He is a loudmouth. He entertains by brash
humor and often putting those against his opinions in an uncomfortable place.

I am sure Craig is not perfect. He is far too much of an entertainer to be perfect. He is a
comedian who can ride the edge, but personally I have never know him not to have a moral
compass. I have watched a father of four and husband care for his wonderful family.

Bruce Gifford
Founder & CEO


www. 3 60cashmere. com
i1w1-v. nakedcashmere. com




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                                                             January 12, 2018


Dear Judge McMahon,

      My name is Margarita Velez, I was a volunteer parent for Camp Carton
during the past 3 years. I wanted to take a minute of your time to respectfully
ask you to put Mr. Carton's pending legal matters on the side for a moment
while you read this letter.

      Mr. Craig Carton was the founder of a camp that; in my opinion,
performed miracles. I can clearly state that because I was a witness of
amazing transformations in children, many of which; due to the nature of their
Tourette's Syndrome tics, never had the chance to interact with others, go to
a movie or sit at a table with kids their age because they had to be home-
schooled.

       One by one, these often shy and reserved children realized that no one
was looking at them differently, that they all moved, twitched and made
different noises but there was no judgement. Many of these children's eyes
opened up when a celebrity like Mr. Carton would come by, listen to their
jokes or stories, jumped in the pool with them while throwing footballs ... Mr.
Carton told them that they can all achieve greatness if they put their mind to
it and they believed. It was truly magical and I felt very lucky to be there to
experience It.

       Celebrities and radio personalities can all use their status to make a
difference, unfortunately, not all of them do It. Craig Carton created a
foundation to help find a cure and provide a safe, fun and supportive
environment for children who struggle with one of the most teased and bullied
conditions out there. Craig was committed to find a cure and make a change
for all children suffering with Tourette. If that isn't someone of good
character, then I do not know who is.

      RespestfullY yours,   ~

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To Whom It May Concern:

My name is Carlos Austin and I'm a Senior Manager of Affiliate Relations and Promotions at
NBCUniversal. I am submitting this letter in regards to my unequivocally remarkable professional
relationship with Craig Carton emanating from November 2008.·

When I worked at WPIX TV a Tribune Broadcast company, I had the opportunity to work with Craig
2008 and 2009. At that time, I was the Director of Local Production and Community Affairs for this
local TV station. In my role, I 'd develop and oversee the production of LIVE events, special
programming and philanthropic efforts for the station.

We would air pre-game shows for various Mets games as well as a handful of Thursday night
football games. One year we thought it would be good to change our approach and bring in some
outside talent to work alongside our station's sports anchors. That person was none other than,
Craig who I knew would bring credibility, knowledge and his gregarious witty sense of humor to the
program. But the more compelling reason for including Craig on our broadcast team were his
abilities to be authentic and relatable.

You can't quantify the value of those attributes but you know the power they wield when it comes to
audience. While Craig had a very boisterous style on-air, his message resonated with the audience
because they could relate with both his passion and pain as a fan. He would comport himself as
both a man of the people and a man of his word. Plus, instead of compensating Craig for his on-air
services to these shows, our TV station made two charitable donations to his partner, Boomer
Esiason's charity. It was this more than anything that served as the impetus for me reaching out to
Craig to partner with the station on our pre-game shows.

Having good character, being responsible and honest in your work are tenets we should all aspire
to in life. My experiences with Craig were very positive and I am forever grateful to him for working
with me during my tenure at WPIX TV and making me look like a genius for bring him aboard.
Should you have any further questions, feel free to contact me at 718-269-9995.
Thanks for your time and consideration.




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[Luke Thomas 
                      
Washington, DC            
               
                              


1st February 2019 
 
To the ​Honorable Judge Colleen McMahon​: 
 
My name is Luke Thomas and I’m a journalist covering the sport of mixed martial arts (MMA). I worked 
alongside Craig Carton in 2012 on the television program ‘MMA Uncensored Live’, a weekly news magazine 
show covering MMA. This program aired on Spike TV, a Viacom-owned television channel now known as the 
Paramount Network. Craig served as the lead host while I and another person acted as co-hosts.  
 
During my time on the show, Craig was extremely easy to work with, a consummate professional, kind to the 
production crew and enjoyable to work with on set. While MMA was not a sport Craig covered with any 
regularity in his work outside of the show, he gave our program his full effort.  
 
More importantly, I covered as media a boxing event between Floyd Mayweather and Manny Pacquiao in Las 
Vegas, Nevada in 2015. Craig also attended the event with the terrestrial radio show he worked on at the 
time. Coincidentally, a high-level executive at the company where I worked had also years ago worked with 
Craig and was in attendance. Without solicitation while all of us were together in the media room, Craig 
offered a strong assessment of my work, skills and ultimately encouraged this executive to consider giving 
me additional opportunities. At the time I viewed Craig’s generosity as a kind gesture, but it ultimately had a 
profound effect on my job. Craig’s recommendation resonated, which has subsequently transformed my role 
in the company where I continue to work. I went from a part-time radio host to full time with a national 
program in the coveted drive time slot every single weekday. Craig had nothing to gain by backing me, but 
chose to, anyway. While many factors have contributed to my ability to make progress as a media 
professional, Craig’s impromptu recommendation has proved helpful beyond compare.  
 
My experiences with Craig have been deeply rewarding. I view them fondly and am extremely grateful for his 
endorsement. In the professional contexts in which we interacted, I have admired Craig’s abilities and been 
truly appreciative of his assistance. I kindly request you consider my experiences in your decision. 
 
Sincerely, 
 

Luke Thomas 


 
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                                                              March 5, 2019

                                                              Shaker Heights, Ohio




On behalf of defendant Craig Carton
The Honorable Colleen McMahon

Dear Judge McMahon:

This letter is on behalf of Craig Carton who is scheduled to be sentenced in your court.
It is with considerable thought and deliberation that I write this letter to you. As a long time
New Yorker and Broadcaster I would urge the court to include a wide scope of factors in
sentencing Mr. Carton.

For background, I was an Executive Vice President at NBC and a Vice President of the
ABC radio networks. My work as a consultant at Sabo Media has been in the C Suite of
New York based media companies.

I participated in the hiring of Mr. Carton at his employer prior to CBS, WKXW FM Radio in
Trenton known as New Jersey 101.5. There he conducted a five-hour daily program focused on
the well being of New Jersey residents. Radio talk show hosts create a program daily without a
script or assistance. In effect he performed a five-hour original speech every day. That process
requires many hours of daily preparation. He did the work. As a result, he gathered a significant,
growing audience and served the community with information and entertainment. Mr. Carton
was a worker among workers, collegial in his demeanor and supportive of the all aspects of the
business.

It is my clear observation that sentencing Mr. Carton to prison would be counter productive.
Mr. Carton has been punished. He lost not only his livelihood but also his calling. Broadcasters
have no choice---they are called to perform from a young age and they live for the work. Today
he has lost that work and is punished every second he is not on the air. He has taken the steps to
beat his addiction to gambling and continues to lead a life free of gambling. He has been
rehabilitated.

Admirably Mr. Carton has done what is necessary to provide his young children with a stable
home during this time. As the father of three young daughters, I respect his determination to be a
good parent above all other considerations. If you remove him from his home, his children will
be destroyed---to what end? It could result in the children becoming bitter, angry and lead to
criminal behavior in their future

Mr. Carton is in a forgiving business---show business. If he was able to seek work today, he
would be hired because his talent is both proven and rare. If he is out of circulation for a few
years he will not be employed, the industry would move on.
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Honorable Judge Colleen McMahon:
 
Seven years ago, Craig, Kim - his wife, my husband and myself went out to dinner as friends
and left as family. We immediately clicked, as most kindred spirits do. Not only were there
your normal phone calls and texts as friends do, but also Sunday dinners, trick or treating on
Halloween, soccer games, pumpkin picking, football games and so much more. This is where I
became to really know Craig. This became the normal to us. The “us” I am referring to isn’t
just to the four people I mentioned before, but to Kim and Craig’s children, Sonny, Lucky,
Micky and Anthony and my daughter,            . The “us” quickly included our children, and we all
became what a group of 9 become - a family. (My daughter even calls Craig “My Uncle
Craigy”!) We have sat together, laughed together, cried together, and celebrated together. 
In the time I’ve been lucky enough to have known Craig and his family, I have seen a loyal
friend, doting father, loving uncle, and supportive husband. He has unfathomable pride for his
charity, Tic Toc Stop, which is nothing compared to the swell of pride amongst hundreds of
parents when they see their children actually being helped and making progress. Being
privileged to be able to see a child hit a goal is one of the most incredible things one can be
blessed to witness, and Craig, through his foundation, plays a part in that. 
Not only was Craig and his wife huge in the Tourette’s community, but also in his own
community. He and his wife are their children‘s biggest cheerleaders. They go to dance
competitions, sports games, and any other space in which they could show their children
support and love. At dinner every night they do the highs and lows of their day, and they
problem solved those “lows” as a team. The bond and love within this family was second to
none. 
This is the Craig my husband, daughter, and I have come to know. This is the Craig who
would help someone out, just because it was a nice thing to do. This is the Craig who would
perform magic for a child to calm a meltdown. This is the Craig who has gone above and
beyond for his family and friends. This is the Craig we all adore and love. This is the Craig I
hope you consider as you make your sentencing decision on February 27th. 
 
Thank you for taking the time to read this letter. 
Molly Perone
 
 
 
 

Sent from my iPhone
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                                                                                                    Paul Amelio

                                                                                          New York, NY
                                                                                            January 31, 2019
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312
Attn: Honorable Judge Colleen McMahon
United States District Judge
Chief U.S. District Judge

Ref: Mr. Craig Carton


Dear Honorable Judge Colleen McMahon,


My name is Paul Amelio and I am writing to you regarding a gentleman named Mr. Craig Carton.

It is through my son        that I have had the pleasure of meeting many of my current and valued friends
that I admire and respect. That’s how I met Mr. Craig Carton, he was a coach associated with TTS Soccer
Stars. My wife enrolled my son and we joined the program in 2013 and although I had just initially met Mr.
Carton as my son’s new soccer coach, I didn’t have any idea of his celebrity status at that time.

Mr. Carton was focused on making those kids better players, respectful teammates who supported each
other and enjoyed playing the game. You would never know of his celebrity status as DJ and co-host of the
Boomer and Carton sports radio program on WFAN. I found out after several games when a parent shared
information with me. Yes, I was familiar with the Sports Show, but I wasn’t an avid fan however Mr. Carton
quickly grew on me and so did his family. His wonderful wife Kimmy, his sons Sonny, Lucky, Anthony and
his daughter Mickey were easy to love and embrace.

Having said that, Mr. Carton was always genuine to me and role model for my son               As it turned out
we had a lot in common including our Alma Mata Syracuse University, Soccer as a favorite sport, fathers
that participated in their children’s interests. Mr. Carton was soft-spoken as a coach who never raised his
voice when coaching the team and children in turn, he quickly earning their respect. Nevertheless, he also
handled the parents with poise and respect even when some of us unruly parents got excited over a bad
call, Mr. Carton quickly took control. I don’t know how Mr. Carton did it but he also founded a charity called
‘Tic Toc Stop’ to help children with Tourette Syndrome a disease that doesn’t receive the attention that it
truly needs.

I cannot put all the great characteristics, the respect and admiration that I have for Mr. Carton without writing
a book but I have to say, I did not believe the news that Mr. Carton could be guilty of any crime and thought
for sure, he would be exonerated. I can say without hesitation that Mr. Carton is an honest man and if he
made a mistake, please consider all the options. I respect the Judicial System, my intention is NOT to sway
the court’s decision in anyway, as a citizen and a friend of the Carton family, I simply ask that the court
please keep the innocent young Carton children in mind during this process.


Respectfully,


Paul Amelio
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                                                                  Brooklyn, NY
                                                                  January 28, 2019

Honorable Judge Colleen McMahon
Federal Court
New York City, New York

Dear Judge McMahon,

          I am writing this letter on behalf of Craig Carton who is scheduled to be sentenced in Federal
Court on February 27, 2019. I have known Mr. Carton for approximately six years as a friend of my
daughter and son-in-law. He and his family have joined us for Sunday dinner many times. During our
visits I found him to be a loving father, a caring husband, a good friend and a gracious individual. He
spoke passionately about his charity “Tick, Tock, Stop” and looked for ways to support children with
special needs.

         As an educator for over forty-five years, I always look closely at how individuals interact with
children. Mr. Carton was especially kind to my young grandchildren, often getting on the floor to play
with them. My four year old granddaughter looks forward to Uncle Craig taking her Trick or Treating
every year. He is also supportive of his own children, encouraging them in their schoolwork and
activities. He often drives them to games and activities, inviting friends to come see them and cheering
them on from the sidelines.

       This is the Craig Carton I know, a family man, a gentleman, a loyal friend, and a generous heart. I
hope you will consider this when he is sentenced on February 27th.
       Thank you for taking the time to read this letter.


                                                                  Sincerely
                                                                  Margaret M. Russo
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                                                                                                 Jim Huvane

                                                                                         Ossining, NY,


                                                                                         December 28, 2017

Subject: Affidavit Letter of Support for Craig Carton

Dear Judge McMahon,

I am writing to you to confirm that I have known and have been close friends with Craig Carton since
2011. Craig and I met at a sporting event in 2011 that started a 6+ year friendship. Over that time, as
well as the subsequent years after, I have become close to Craig’s family his wife Kimmy and four
beautiful children. Over the years we have gone on trips together, our families have become friends, we
have raised money for our charities, and they were by my side at our wedding celebration.

One of the biggest accomplishments we have as friends was the start of the Boomer and Carton charity
softball event with Commissioner Manfred and Major League Baseball in my home town Sleepy Hollow,
New York. I am actively involved with the Hudson Valley Chapter of Make-A-Wish. In 2015 I asked Craig
if he would be willing to have a softball game against the commissioner’s office of Major League
Baseball with the proceeds going to Make-A-Wish. Craig did not hesitate to say yes and was our biggest
supporter. Craig rallied his team and celebrities each year to help raise money. This past year marked
our third year of the game. We have raised over $47,000 benefiting families of Make-A-Wish granting
approximately 6-7 total wishes.

In the middle of December I visited Craig and his family at their new place in the city. It was the last
night of Hanukah and I was lucky enough to celebrate with his entire family. Craig was helping the kids
with their homework assignments and discussing college visits with his eldest child. As somethings has
changed much did not. Craig has downsized his place due to this pending legal manner. His love and
devotion to his family still remained the same if it has not grown even stronger. The past few months
has been very difficult on Craig and his family. I saw firsthand the love Craig has for his kids and the love
they have for him. Craig’s four children are his world. Sports was a passion and hobby that sparked a
friendship with Craig but his family values and love for family we share has made Craig a lifelong friend.

Thank you for the opportunity to share this information with you. It is very difficult to express my
feelings, beliefs, and facts about Craig and his family in a one page letter. If you have any questions,
please feel free to contact me at

                                                                                                   Sincerely,




                                                                                                 Jim Huvane
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To the Honorable Judge Colleen McMahon
 
               My name is Douglas Wells and I felt I
should write a letter to you about my experience
and relationship with Craig Carton. Craig and I
have been friends for a little over 12 years and
during those 12 years I have seen him be a
caring husband to his wife Kim and a great father
to his Daughter Mickey and to his three boys
Sonny, Lucky and Anthony.  
 
For the better part of the the last three decades I
have been in the Automobile Industry as a sales
executive, General Manager and Owner of
dealerships throughout the tri-state area.  Part of
my responsibility was also to determine how our
dealership should spend its advertising dollars.  It
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is through that responsibility that I met Craig as
the host of a show that I was advertising on.  I
have met and done business with every major
radio station and personality in the marketplace
but I had never met anyone like Craig.  He had
no ego, he was affable and genuinely nice to
everyone he came in contact with.  He was also
quiet and more introverted than the personI
heard on the air.  I came to realize that when he
was away from the microphone Craig was a
simple guy who always went out of his way to
help others out and he was the type of guy that
would rather be at home with his kids than at an
event.  
 
I was fortunate enough to go to a few Super
Bowls and I happened to see Craig at the one in
San Francisco. I mentioned to him that I was
having a dinner with a group of guys that were
big fans of his.  Without another word beign said
he showed up at our dinner, talked sports with
the guys, took pictures with them and them each
feel like he was their friend.  As a Radio
Personality he made sure he had a great
relationship with everyone at the station too and
he never acted to them like he was the big shot. 
He treated everyone with respect and went out of
his way to offer his guidance to the yearly interns
that worked at the station.  I know because I sent
a few interns his way.  And When I have spoken
to people from the station they all miss him and
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want him to be ok and have this situation behind
him.  
 
They all know what I know and what the people
who were lucky enough to be welcomed to his
inner circle know, family came first his job came
second.  They knew he was the type of guy who
could never say no when someone needed help. 
Craig would call me whenever he had an idea for
a charity event or a plan to help someone in
need.  One of the greatest gifts in my
professional life was being able to see with my
own eyes how Craig changed the world for kids
with Tourettes, how he rallied over 17,000 people
to watch a softball game to support the NYPD
and its Fallen Heroes and Widows and Children
Funds, how he created planned and hosted a
celebrity charity basketball game for a former
NYPD Detective's Family who perished in
Afghanistan and how he always provided an
open microphone to any person or group who
needed help.  I sponsored every event.  They
were all amazing humble acts of caring led by
Craig and Craig alone.
 
I remember 10 years ago we were playing golf
and just the two of us he started to discuss
Tourettes and that he had it but more importantly
he wanted to find a cure because  Mickey and
Sonny both suffered from it.  His main concern
was how children pick on other kids if they have
something that might not be what is the norm.  In
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his Heart like any other parent was he wished he
could take all aspects of the disease from them
and give it all to himself so they could live a more
normal life which every Parent wants.  
 
Rather then sit by and watch his kids suffer he
decided to start a charity with the plan to help
discover a cure.  He explained to his friends and
supporters what the Tic's were and how much
they impacted a kids life which is the main issue
of Tourettes.  He was on a mission and put most
of his extra time towards this using his ability to
promote and educate through his radio Voice. 
He not only donated time but money and created
a large network of people from all over to work on
something that most would never think about
doing.  He created a camp for these kids that is
still in existence and he created a mouth piece
that makes the tics go away.  He has in fact
saved these kids from a lifetime of sorrow and of
being imprisoned by the tics that override their
brains.  What a great gift you could bestow upon
those kids by allowing Craig to avoid prison and
continue his productive behavior in helping those
kids flourish.
 
I know he is one of those people that if he owes
someone money and it seems from the trial that
he does he would make it his primary business to
take out that debt and make those people
whole.  
 
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I must say Craig and his family are my friends
and I will always be there for them.   
 
Most people who know Craig and I are friends
always ask for him and wish him well.    It's
strange in a way.  He has not been on the radio
for over a year and yet not a day goes by that
someone doesn't ask me about him.
 
If he does go to prison I will be there when he is
let out and I feel in my heart that if you were
compassionate enough to take a chance on
someone in his position that he would make you
proud for allowing him a shot at a second
chance.
 
 
Sincerely
 
 
 
 
Douglas Wells
General Manager
Ray Catena Motor Car
Mercedes-Benz, Smart Car, Sprinter/Metris Vans
910 Route One
Edison NJ  08817
office 732-549-6600
         
fax      732-626-6108
dwells@raycatena.com
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cooperation. 
 
 
 
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Your	honor,	

I’ve	known	Craig	Carton	since	2002,	which	was	when	we	both	began	our	
very	successful	run	as	the	“Jersey	Guys”	on	New	Jersey	101.5	radio.	

During	the	time	we	were	together	as	a	team,	Craig	and	I	maintained	a	close	
relationship.		I	think	I	know	him	well	enough	to	say	that	the	person	who	
was	recently	found	guilty	of	various	financial	dealings	is	not	the	person	I	
know.

This	is	a	man	who	has	always	put	family	and	friends	foremost	in	his	life.

He	is	a	devoted	family	man.		I’d	known	him	though	the	birth	of	3	of	his	4	
children.		No	one	could	be	a	better	father.		He	is	an	avid	participant	in	his	
children’s	activities	and	dotes	on	them	as	any	father	should.	

He’s	also	a	devoted	husband	to	his	wife,	Kim.		I	don’t	think	I’d	ever	seen	
two	people	more	devoted	to	each	other	than	they	are.		It’s	as	though	they	
are	one	person.

So	given	all	that,	it’s	sad	to	think	what	will	be	of	his	family	unit	should	he	be	
away	from	them	for	an	extended	period.

And	it’s	not	just	his	family	that	will	be	affected,	but	the	charity	he	founded	
to	help	those	suffering	with	the	same	affliction	that	he	and	two	of	his	
children	have	–	Tourette’s	Syndrome.

I’m	sure	you’ll	probably	hear	testimonials	from	parents	whose	children	
have	benefitted	from	their	stay	at	the	institution	he’s	founded	-	Camp	
Carton.		As	previously	stated,	he	has	a	huge	place	in	his	heart	for	children-	
especially	those	who’ve	been	found	to	have	the	same	disorder	with	which	
he’s	had	to	deal.

I	recall	hearing	the	news	of	his	arrest,	and	subsequently	heard	from	many	
of	our	former	listeners	who,	for	whatever	reason,	thought	I’d	have	been	
happy.

I	maintain	that	nothing	could	be	further	from	the	truth.		Incarceration	does	
not	accomplish	anything.		It	will	not	address	the	larger	issues	which	were	
behind	his	having	been	arrested.	
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Please	consider	all	I’ve	written	as	testimony	to	Craig’s	character.	

He	truly	is	a	good	man.	
	
Ray	Rossi.
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Dear Judge McMahon,

I am writing to you today on behalf of Mr. Craig Carton. In the many years I have known Craig, he has been one of the
most loyal friends I have ever known. A brother. A man of principal who is a fine father to his four beautiful children whom
I have had the pleasure to watch grow. He has impacted my life in so many ways. Having witnessed the tireless efforts he
has put forth with his charity work has been an inspiration to me. Craig in many ways taught me to be the father I am
today by leading by example. Someone that could handle the public eye yet still be there for his children and wife on
every level. Craig has always been a family first man. His children worship him and he them. So much so that his
philanthropic work, which I have witnessed first hand is centered around helping other children in need. I have seen the
looks on children's faces that have had the experience and benefit of his beloved Camp Carton. They are forever
changed. He has created a place where they feel like normal children even for a few weeks. The mouthpiece device for
children dealing with Tourette's he helped spearhead, has been a huge leap forward in helping them to feel relief from
their violent ticks. Craig has exhibited a great deal of empathy for those in need and does so out of the kindness of his
huge heart. Mr. Carton has gotten to know my daughter,              and is like an uncle to her... she loves him and his family.

Your Honor, I implore you to consider everything I have stated about this fine man, Craig Carton and thank you for your
time.

Sincerely,

Constantine James Maroulis
Tony Nominated Actor
Tony Nominated Producer
American Idol Finalist
Philanthropist
Father




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Judge McMahon;

Greetings and warm regards.

I hope you don’t mind but I felt compelled to write a quick letter in regards to my friend, Craig
Carton.

I’ve known Craig for almost 20 yrs.

And I’ve only known Craig as a dedicated family man - and a true broadcasting professional.

I can remember distinctly when I asked Craig to help out a non profit organization and he
immediately stepped up.

And it was an evening event and Craig stayed late to help raise money for families in Hunterdon
County.

I myself have attended Craig’s own charity events and saw firsthand his commitment to helping
others.

Including his ol pal here, when I started my radio journey.

I can only very respectfully request consideration for any and all leniency you might extend to
Craig.

For his sake as a decent human being and especially for his family.

It’s what he lives for.

Thank you Judge McMahon and all the best …

Joe Piscopo
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                   January 23, 2019


     To The Honorable Judge Colleen McMahon,
      
                 I just wanted to take a few minutes of your time as a Mother,
     Parent, and close Friend of Craig Carton to explain a simple moment in a
     father’s relationship in which may influence your decision making
     process. 
      
                 I have know Craig and his family for over 15 years. Craig, Kim
     and their 4 kids have become part of my own family over the past years. I
     have always admired how Craig was as a father, friend and husband. I
     have seen all four of their kids grow up to be beautiful children. I admired
     how close they all are and how they all love one another tremendously.
     We have shared many family moments with them which is a memory I
     will never forget.
      
                 Craig, is one of those hands on dad’s. I truly admired how he
     always played with all the kids and always made each and every kid feel
     included even my own. Craig is also an amazing husband to his wife Kim,
     their energy and their partnership was amazing to watch.
      
                 I know what Craig did was wrong and I truly believe that when
     someone does something wrong, we can’t forget all the things they did
     right! I know he is sorry for the things he did, you can see it in him.  In
     my memories with Craig there isn’t just one memory I can list, there are a
     million things that keep replaying in my head that I wished you have saw
     for yourself. As a person I know what Craig did was absolutely wrong but
     I don’t think that is the Craig I know. I think the hype and the career really
     took a toll in how he behaved and why he did the things he did. The time
     that this was happening doesn’t compare to the way he has been all his
     whole life and now.  
      
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                 With his upcoming sentencing I just ask for remorse. I beg you for
     the sake of his wife and 4 beautiful kids that his sentencing is less then the
     required time. The amount of time he could be missing from his kids,
      breaks me. I can’t even imagine how they can honestly function without
     seeing him every day and I know it will be extremely hard during certain
     milestones in his kids lives that he is not there for. He was there for every
     milestone of his kids lives so far, every birthday party, every appointment,
     every sports game, everything! Craig was always there for his wife and
     kids.
      
                 I just want to Thank you for your time. I feel awful for the
     situation that everyone is in. Hopefully these words and instances will
     have an impact in your decision process. I pray for his freedom and I
     know he will come out a better man, husband, father and friend in the end.
      
     Sincerely,
     Jennifer Richman
      
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Dear Honorable Judge Colleen McMahon,

Just wanted to share with you my thoughts about Craig Carton.

I've known Craig since 2004. I was the late night talk show host and Craig was doing afternoon drive
on NJ 101.5.

His on-air persona was nothing like the man I got to know. He was very kind to me, invited me to his
events and also to his home where I watched him interact with his wife and children who absolutely
adore him. He's the type of man who helped others especially children where he raised money to
send children with Tourette's Syndrome to camp.

I know he was convicted of a crime but incarcerating Craig makes no sense to me being he's not
violent and I've only experienced a softer gentler side of him that only people who have interacted
with him on a personal level ever get to see.

I believe he can do so much good doing community service while getting help for his addiction that
apparently got him into this trouble to begin with.

For the sake of his wife (she is probably one of the nicest individuals I ever met) to his four children
who will terribly miss him as he's a very active dad in their lives - I respectfully ask you to sentence
Craig to the minimum amount of punishment possible.

He's a good person who made a terrible mistake apparently fueled by his addiction disease.

Respectfully,

Tom Gordon




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Honorable Judge Colleen McMahon,

Hi, my name is Jeff Zeaman and I met Craig around ten years ago while our 7 year old
sons played flag football together. Craig and I were randomly teamed up as coaches for
that team and we hit it off. After that season we started hanging out together, co-coached
many of our kids teams through the years together and became pretty good friends while
he lived in the area. The main thing I can say about Craig is that he is a family man. He
Absolutely Loves his kids and his wife and would do Anything in the world for them. He is
a Great dad and husband. Anyone who knows him personally would say the same thing.
He is a very nice and generous guy with a good heart. In real life he is not the loudmouth,
obnoxious guy on the radio, that is an act. Anyone who truly knows him knows that. He is
more on the quite side, caring, and all about his family and friends. Craig was Always
good to me, everyone in my family, and everyone I ever saw him have contact with. He is
a good guy, with a good heart. He needs his family and more importantly his family needs
him. His life is his family. This has to be so hard on Kimmy and the kids. They are great
people who deserve to have their father around. I feel and pray for all of them Always. I
don't know how they will be able go on without him.

Jeff Zeaman




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To: Honorable Jugde Colleen McMahon

Subject: Craig Carton

Dear Judge McMahon,

It is with a heavy heart that I reach out to you on behalf of Craig Carton
and his impending sentencing. 

Craig and his wife Kim are good friends of our family.  We came to know
one another in Cleveland, Ohio when Craig was hosting a sports show on
which I made weekly appearances as a guest. His genuine nature of
looking for, and bringing out, the best in people was apparent both on and
off the air.  We developed a friendship that brought us together in an
online sports company that we eventually formed as a partnership.  Craig
was always honorable and conscientious and did a terrific job.

When he married Kim, my wife and I flew to Philadelphia for the wedding
and were greeted warmly by both of their families. He has always been a
caring man and very proud of his family. 

I am absolutely certain that whatever wrong doing came into Craig’s life
will be a lesson learned and that amends will be made.  Like our family,
Craig and Kim live their life by the Golden Rule and will continue to look to
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treat others with kindness and the respect that they deserve.

I hope you can find it in your heart to weigh the goodness of Craig into
your final decision.  He, and his family, are worth it.

Thank you for your time and consideration in this matter.

I remain, respectfully yours,

Lawrence Moorman


Weston, FL


 
  




                                                                    
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To: Honorable Judge Colleen McMahon,
  I am writing to you to give you my sincere opinion of Craig Carton and hope it will help when
considering your decision in February.

   I have been friends with Craig Carton since our freshman year at Syracuse University. Craig became
one of my closest friends that year and we mutually decided to become roommates the following
(sophomore) year.
Despite becoming involved with separate fraternities, we always made time to get together both in relation
to school work as well as social activities.

   During college, I came to know Craig as a person who was driven to succeed. His family is made up of
very personable and very successful professionals. They welcomed me several times at their home for
summer get-together(s). I saw his bond with his father, mother and siblings and appreciated how that
influenced him into the positive person I met at Syracuse.

  Craig was an extremely hard worker at school. Especially when it came to his broadcast journalism
work. I could see that he had talent. I could also see that he knew how much work he had to do to get
better as well as the work involved just to get noticed in his field.

   Following school, I moved to Los Angeles to work in television production and, of course, kept in
contact with Craig as started his career in Buffalo. I was proud that he was already working with a sports-
talk radio station and saw him thrive at his craft when he came to Los Angeles to do his talk show when
the Buffalo Bills played in the Super Bowl in Pasadena, CA. Craig stayed with me during the work-
trip, and when I saw him do interviews on press row with the "who's who" of the sports world I knew he
was on his way to success.

  As Craig moved around the country for work, I always thought he was becoming more of a "pro" in the
business and thus exuded confidence. The confidence was never over the top and served him with his
charitable endeavors such as "Camp Carton" doing great work to help children.

  Hi marriage to his wife, Kim, along with his close relationship with his kids showed me that despite a
very demanding career, he knew what was important in life. He is always there for his family.

  Overall, I have always considered Craig a great friend and will always think that way. I cannot envision
him purposely doing anything that he is accused of.

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Sincerely,


Douglas Cohen
Work - Universal Music Group, Director- Production
                         Robbinsville, NJ




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Dear Judge McMahon

I’ve had the pleasure to know Craig Carton for 10 years. We met through work and developed a friendship through the
years. I have seen him consistently go out of his way to do his best in his work, and I’ve seen him always give his time in
a very genuine way to his fans.
I’ve also seen him with his wonderful family and watched him work tirelessly with kids in support of his charity tic toc stop
for those with Tourette syndrome.
He is a good man and I sincerely believe the help he needs is not in a prison cell. I hope you can find a just sentence that
helps the victims and also gives Craig the help he needs to put his life back together.

Sincerely,
Dan Buttling
Sent from my iPad




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Honorable Judge Colleen McMahon,

I write to you in connection with the pre-sentencing report for Mr. Craig Carton. I am writing to
you voluntarily and I take this responsibility very seriously. I have known Mr. Carton since June
of 2018 but in that short time, I got to know him well. Based on my time with him, I am confident
that he is a good person and I hope that will be taken into account when determining his
sentence.

In the Spring of 2018, I was selected for a summer internship for the Carton & Friends show on
the Fantasy Sports Network. I was thrilled for the opportunity to gain communications
experience and looked forward to my first day. I had assumed that I would be relegated to
fetching coffee and other low level tasks for the production crew for a while. However, from the
first morning meeting, it became apparent that Mr. Carton intended to take me under his wing
and personally teach me every aspect of the industry.

Craig assigned a set of daily responsibilities that were relevant to my career and worked with
me to improve on each task. For example, he asked me to develop a daily blog to track the
highlights from the show. After a few days of working with Craig to fine tuning the structure and
detail of the blog, he allowed me to work on it independently and it became a feature of the
show’s website. Craig also included me as a part of the team at staff lunches and network
events. Towards the end of the internship, he allowed me to appear on air with some regularity.
Craig took a personal interest in me and his frequent direct interactions with me allowed me to
learn a lot and have the perfect internship opportunity.

Mr. Craig Carton is a thoughtful, selfless and generous person whom I greatly respect. Please
consider this in connection with determining his sentence. I can be reached by telephone or
email if you require any additional information.

Thank you,
Jacob Wolf
